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Jilii           University of Maryland University College
The Graduate School
Cybersecurity & Information Assurance Department


United States Department of Homeland Security
Citizenship & Immigration Services

                                                                              September 6, 2018

Re: Academic Degree Requirements for the position of Application Support-ITRR for Tekway,
Inc. and classification of the position as an Entry-Level USCIS Specialty Occupation, discusison
of the academic credentials of Mr. Jagadish Kumar Balusu, and suitability of Mr. Balusu for the
position.

To Whom It May Concern:

       I have been asked to discuss the professional position of Application Support-ITRR for
Tekway, Inc., and the suitability of Mr. Balusu for the position based on his academic
credentials.

        Regarding my educational background and qualifications, I have received a Bachelor of
Science in Finance from Touro College, a Master of Science in Internal Auditing and
Management from City University, a Master of Science in Information and Telecommunication
Systems for Business from Johns Hopkins University, as well as a Ph.D. in Management,
Information Systems and Electronic Commerce from City University. I have over thirty years of
work, consulting, and research experience in the field of information systems development,
including technology project implementations for Fortune 1000 companies and international
corporations. I have also served as Research Assistant Professor of Computer Science at Johns
Hopkins University among other appointments. My leadership and technology research has been
well supported. My research in information technology, computer science, information systems,
cloud computing, data science, and other areas has been supported by grants from the United
States Department of Defense, the US-Israel Science and Technology Foundation, and other
organizations. My opinions have been accepted as authoritative in numerous instances, including
serving as a consultant and/or research collaborator for: Microsoft Corporation, Lucent
Technologies, L3 Technologies, TATA Interactive Group, Boeing Corporation, and other
leading technology firms, as well as for corporations such as Bank of America and Bank of
China, and for the National Security Agency, the Department of Defense, and the Department of
Homeland Security. Since 2013, I have served in the role of Senior Technical Auditor at T.
Rowe Price, in which I serve an authority on the cybersecurity needs for the company.
Additionally, my opinions regarding employment position requirements and industry standards
have been accepted by United States Citizen and Immigration Services (USCIS) in hundreds of
instances. I have published numerous journal articles, conference proceedings, technical reports,
editorials, a book and book chapter as well as presented talks on information security,
information technology, and related topics. Also, I have served on the Editorial Boards for
several professional journals, as well as on the Program Committees for numerous professional
conferences. My current research interests include: advanced software engineering, emerging
technologies, business intelligence, cybersecurity, cloud computing and related areas.

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        Currently, I am a Senior Technical Auditor for T. Rowe Price providing subject matter
expertise services in cybersecurity to various departments within the organization. I also serve as
a Full Adjunct Professor of Cyber Security at the University of Maryland-University College. I
teach the final capstone course involving a unique simulation and modeling component in the
Master of Science in Cyber Security Program. In the past, I have taught graduate and
undergraduate courses in Internet Applications, Management Information Systems, and related
subjects. Our university offers Bachelor’s degree programs in different areas of Information
Technology as well as a Master of Business Administration (M.B.A.) degree program, the
requirements for which I am thoroughly familiar with as a member of the university faculty. I
have had the opportunity over the years to become familiar with the qualifications required to
attain the position of Application Support-ITRR and similar professional positions, and the
specialized and unique needs of the companies that recruit graduates for this position. For these
reasons, I am eminently qualified to render the following professional opinion.

                  Overview of Application Support-ITRR Position
        Established in 2005, Tekway Inc. is an IT services and resources provider that uses
internal staff, outside consulting resources, and project outsourcing in order to meet the
technology goals of their clients. The company seeks to combine their technology and domain
expertise with their focus on business to provide their clients with the best solution for their IT
needs. Currently, Tekway, Inc. requires the services of an Application Support-ITRR to perform
various specialized duties that will help ensure the company’s continued success as it expands.

       It is apparent that an Application Support-ITRR with the specific duties listed below
would be considered an entry-level professional position and would normally be filled by a
graduate with a minimum of a Bachelor’s Degree in Computer Science or a related area. The
Application Support-ITRR for Tekway, Inc. will be supervised by a Project Manager, Operations
and will be responsible for the following duties:

           •   Participate in the review and definition of functional areas, processes and
               procedures regarding requirements, organization and flow of data, methods and
               forms;
           •   Provide problem resolution;
           •   Communicate and recommend complex business process, procedures and diverse
               information to resolve customer issues;
           •   Provide systems and programming support to functional areas;
           •   Provide knowledge transfer and support users on installed software;
           •   Participates in the review and definition of functional areas, processes and
               procedures regarding requirements, organization and flow of data, methods and
               forms;
           •   Configures the application environment with Tomcat server, Maven and Oracle
               database server;
           •   Setup security hardening through configuring SSL x509 connection between
               Application on Tomcat server with Oracle database server;
           •   Ability to convert business requirements into technical specifications and designs


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               as well as estimate the amount of effort necessary to complete the tasks;
           •   Deploying applications and troubleshooting java services on Apache Tomcat
               Server;
           •   On call support for Production, Deployment activities, issue tracking on
               application logs and raising a report to fix it;
           •   Assists in design/modification of business rules for software;
           •   Ability to act as the single point of contact in application environment support for
               all stakeholders;
           •   Providing support during a release deployment; and
           •   Proactively monitor and maintain the IT environment and react to unplanned
               events as they arise.

          Application Support-ITRR Position as a Specialty Occupation
        When discussing the minimum degree requirement for a certain employment position, the
nature of the specific responsibilities must be closely examined along with the position title to
ascertain the true nature of the academic requirements. After examining the responsibilities of
the Application Support-ITRR position in detail, it is apparent that a minimum of a Bachelor’s
Degree in Computer Science or a related area, or the equivalent provides the student with the
core competencies and skills needed for a Application Support-ITRR position with the
responsibilities listed above. This is because the nature of these specific responsibilities and
knowledge is so specialized and complex that knowledge required to perform these duties is
usually gained through the attainment of a Bachelor’s Degree in this field. A student completing
a Bachelor’s Degree in Computer Science or a related area studies and obtains knowledge of the
various theories and methods that are necessary for performing these daily tasks of a Application
Support-ITRR for Tekway, Inc. Courses required by a Computer Science major, such as those in
Java Programming, Computer Networks and Data Communications, Object-Oriented Analysis
and Design, Introduction to Computer Security, Wireless Networks, Software Project
Management, Cryptography and Data Security, Long-Range Wireless Networks, Database
Systems, and Web-Database Application Development directly correspond to and prepare the
student for the specific responsibilities of the position. The student completing such a degree is
also required to demonstrate, through rigorous testing and challenging case studies, knowledge
of various theories and methods that are necessary to perform these tasks. Furthermore, this type
of position is a typical job placement for students completing a Bachelor’s Degree at our school.
Employers with openings for Application Support-ITRRs and similar professional positions have
recruited at our campus, always seeking graduates with the minimum of a Bachelor’s Degree.

        In more detail, duties such as providing knowledge transfers and supporting users on
installed software could only be performed competently by a candidate with at least a Bachelor’s
Degree in Computer Science or a related area. In a Web-Database Application Development
course taken by a Computer Science major, a student studies core web development concepts
including browsers, form validations, databases, APIs, scaling issues, integration with other
applications and systems, and more. This knowledge is necessary to participate in the review and
definition of functional areas, processes and procedures regarding requirements, organization and
flow of data, methods, and forms. Additionally, in a Software Project Management course
usually required in a Computer Science degree curriculum, the student receives training in the


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principles of software development and management with special emphasis on the processes and
activities of product alignment with business requirements. This type of preparation is essential
to the Application Support-ITRR position, which requires the ability to communicate and
recommend complex business process, procedures, and diverse information to resolve customer
issues. Further, the Computer Science student gains the necessary background knowledge in
setting up security hardening through configuring SSL x509 connection between Application on
Tomcat server with Oracle database server through his/her completion of a Cryptography and
Data Security course. Clearly, a candidate must have completed course work and training in
Computer Science or a related area at the undergraduate level at a minimum to competently
handle the duties required by the Application Support-ITRR position.

        In addition, after comparing the responsibilities of this Application Support-ITRR
position to existing job categories as defined by the Occupational Outlook Handbook 2017-2018
Edition (OOH) published by the United States Department of Labor/Employment and Training
Administration (USDOL/ETA)1, it is clear that this position should be classified as a “Software
Developer” occupation. The OOH classification for Software Developers indicates that
individuals in these types of positions are responsible for such duties as analyzing users’ needs
and then designing, testing, and developing software to meet those needs; recommending
software upgrades for customers’ existing programs and systems; designing each piece of an
application or system and planning how the pieces will work together; creating a variety of
models and diagrams (such as flowcharts) that show programmers the software code needed for
an application; ensuring that a program continues to function normally through software
maintenance and testing; documenting every aspect of an application or system as a reference for
future maintenance and upgrades; and collaborating with other computer specialists to create
optimum software. Upon comparing the duties performed by the Application Support-ITRR for
Tekway, Inc. with the duties generally performed by Software Developers, it is apparent that the
Application Support-ITRR’s duties are typical of a Software Developer and clearly correspond to
the duties listed under the category of Software Developer the OOH. It is noted in OOH that the
entry level education for a Software Developer is a Bachelor’s Degree, and that most have a
Bachelor’s Degree in Computer Science, Software Engineering, or a related area.

        Similarly, in consulting another respected resource, the O*NET 2 classification for
Software Developer, Applications indicates that individuals in these types of positions are
responsible for such duties as modifying existing software to correct errors, allow it to adapt to
new hardware, or to improve its performance; analyzing user needs and software requirements to
determine feasibility of design within time and cost constraints; conferring with systems
analysts, engineers, programmers and others to design system and to obtain information on
project limitations and capabilities, performance requirements and interfaces; storing, retrieving,
and manipulating data for analysis of system capabilities and requirements; designing,
developing and modifying software systems, using scientific analysis and mathematical models
to predict and measure outcome and consequences of design; developing and directing software
system testing and validation procedures; programing, and documentation; supervising the work
of programmers, technologists and technicians and other engineering and scientific personnel;
determining system performance standards; coordinating software system installation and

1
    https://www.bls.gov/ooh/computer-and-information-technology/software-developers.htm
2
    https://www.onetonline.org/link/summary/15-1132.00


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monitoring equipment functioning to ensure specifications are met; consulting with customers
about software system design and maintenance; and analyzing information to determine,
recommend, and plan computer specifications and layouts, and peripheral equipment
modifications. Upon reviewing the duties generally performed by Software Developers,
Applications according to O*NET, it is apparent the Application Support-ITRR for Tekway, Inc.
shares many of the same duties and falls under this occupational category. Additionally, O*NET
states that most Software Developer, Applications positions require a four-year Bachelor’s
Degree, and knowledge and skills in Object or Component-Oriented Development Software,
Computers and Electronics, Programming, and related areas.

        While the OOH and O*NET statements regarding the entry level education for a
Software Developer, Applications appear to leave the possibility open for a minority of Software
Developer, Applications positions to require less than a Bachelor’s Degree, the Application
Support-ITRR at Tekway, Inc. would clearly be among the majority of Software Developer,
Applications positions which would absolutely require Bachelor’s-level preparation at a
minimum. As an IT services and resources provider, Tekway, Inc. has extremely complex and
extensive IT needs. For example, its fully integrated applications and systems are responsible for
generating much of the company’s revenues, and the Application Support-ITRR must design and
monitor them. The entire operations of the company depend on the expertise of the Software
Developer, Applications to keep systems functional and optimized. As such, Tekway, Inc. is
among the employers that cannot afford to hire a candidate without at least a Bachelor’s Degree
to research and develop its systems. Therefore, Tekway, Inc. would naturally seek out only a
Software Developer, Applications for a position such as Application Support-ITRR among the
majority of such professionals as described by OOH and O*NET who hold a Bachelor’s Degree.

       Having reviewed the position in detail, it is my opinion that these duties are specialized
and require the theoretical and practical application of a body of highly specialized knowledge.
Moreover, the duties as described are that of a Specialty Occupation as I understand the term as
defined by the United States Citizenship and Immigration Services, which requires the
attainment of a minimum of a Bachelor’s Degree in a specific specialty.

       Application Support-ITRR Position as an Entry-Level Occupation
        A close analysis of the company structure of Tekway, Inc. and the specific
responsibilities of the offered Application Support-ITRR position indicates that this position falls
into a distinct category of employment positions that involve both tasks which require Bachelor’s
Degree preparation as detailed above, while at the same time are properly classified as only
entry-level. The specific functions of the Application Support-ITRR involve the application of
specialized knowledge obtained during undergraduate study, yet it is important to note that the
position requires limited, if any, exercise of judgement. The Application Support-ITRR at this
point in his or her career will perform routine technical tasks as specifically instructed by
supervisors. The Application Support-ITRR will not exercise any judgement regarding which
functional area to use as well as which complex business processes and procedures to apply to
the real-world IT solutions required by the company’s clients; this advanced role is handled only
by higher level professionals in non-entry level positions within the company. For example, only
a more experienced Application Support-ITRR, such as the Project Manager, Operations, would


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be involved in the critical discretionary decision-making regarding which tasks need to be
performed to create the needed result and to achieve the best solution for the client. It is clear
that the tasks that the Application Support-ITRR performs are specialized, however these job
duties are associated with an entry-level Application Support-ITRR since they are routine tasks
that involve following technical specifications, processes, and procedures.

        The Application Support-ITRR for Tekway, Inc. is closely supervised by a Project
Manager, Operations, on a regular basis to ensure that the specific instructions for required tasks
are executed properly. The Application Support-ITRR receives significant level of oversight as
required for someone relatively new to the profession; this includes being given specific
guidance and instruction for all tasks to be completed. The Application Support-ITRR spends
time deploying applications and troubleshooting Java services on the Apache Tomcat Server
according to exact guidelines clearly delineated by the Project Manager, Operations. An
individual in this senior position establishes application environment configuration and
modification steps to be followed by the lower-level Application Support-ITRR. The Project
Manager, Operations also trains the Application Support-ITRR in supporting production and
deployment as well as issue tracking application logs and raising reports to fix the issues. This is
consistent with a typical entry-level role in which the employee is closely monitored and needs
to gain further experience before being able to exercise judgment regarding technical
specification and design decisions.

        It is common for Information Technology (IT) roles such as the Application Support-
ITRR for Tekway, Inc. to begin their careers handling more generic IT duties such as providing
basic systems and programming support to functional areas, which they can complete without
support given their completion of university studies. After an initial period of entry-level work
experience, however, an IT role such as the Application Support-ITRR for Tekway, Inc. will
have gained valuable, specialized expertise in converting business requirements into technical
specifications and designs as well as estimating the amount of effort necessary to complete tasks.
Only then can the Application Support-ITRR start to make decisions about determining which
complex business process, procedures, and diverse information to use when configuring the
solution. The Application Support-ITRR starting out his/her career will usually transition from
monitoring and maintaining software systems to designing and modifying business rules for
software as he or she progresses from the initial entry-level role.

        Further, throughout the course of completing a Bachelor’s Degree in a Computer Science
or related technical field, the student’s experience actually mirrors, and provides a strong
foundation for, the software development lifecycle in which he or she will be immersed during
an entry-level employment position following graduation from the Bachelor’s program. The
primary components of the software development lifecycle include requirements gathering,
designing, programming, testing, modification, and deployment. The job duties of an entry level
Application Support-ITRR typically involve following the predetermined specifications and
methods of the software development lifecycle. Similarly, the student completing an Computer
Science-related Bachelor’s program first receives specific instructions from the instructor
regarding what actions to take in certain tasks, proceeds to execute those actions during
configuration and deployment utilizing the programming and security techniques that they have
studied in class, and then the instructor reviews the system generated and grades the student



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based on their proper application of the obtained knowledge. Ultimately, the ability to perform
assigned research and troubleshooting tasks under supervision, a primary characteristic of an
entry-level position, is gained specifically by a graduate of a Bachelor’s Degree in Computer
Science or a related technical field.

       Judging by the nature of the duties as described, it is my opinion that the Application
Support-ITRR position description offered by Tekway, Inc. is consistent with a typical entry-
level position. Further, judging by the entry-level nature of the position as described, the
Application Support-ITRR position offered by Tekway, Inc. would fall under the Level I wage
category appropriate for entry level Software Developer, Applications positions as detailed by
the US Bureau of Labor Statistics' Occupational Employment Statistics (OES) program.3

                Industry Standard for Application Support-ITRR Position
         Additionally, it is standard for a company such as Tekway, Inc. to hire an entry-level
Application Support-ITRR and require that individual to have attained at least a Bachelor’s
Degree in Computer Science or a related area. It is typical for an IT services and resources
provider to hire an Application Support-ITRR or someone in a similar professional position who
has recently graduated from a Bachelor’s Degree program in Computer Science or a related area.
The success of Tekway, Inc., as of similarly situated companies, is largely dependent on the
ability and expertise of a Application Support-ITRR and other professionals, as the specialized
duties of these individuals directly and indirectly affect the company’s operations, revenues and
profits, and ultimately the overall success of the company. Therefore, the industry standard for a
position such as Application Support-ITRR for Tekway, Inc. is to be filled through recruiting a
recent college graduate with the minimum of a Bachelor’s Degree in Computer Science or a
related area, or the equivalent.

        Further, the prevalence of a Software Developer, Applications within companies like
Tekway, Inc. which are engaged in Computer Systems Design and related services is significant,
as according to data from the OOH, individuals employed in such occupations within that
industry stood at approximately 292,000 in 2016 and is projected to reach 418,700 in 2026,
growing at a rate of 43.4%.4 This figure demonstrates that a position such as the Application
Support-ITRR being offered by Tekway, Inc. is common within its industry sector, and
increasingly essential.

      Summary of the Position of Application Support-ITRR for Tekway, Inc.
        In summary, in the matter of the employment position of Application Support-ITRR
offered by Tekway, Inc., it is my professional and experienced opinion that the described job
duties are of an entry-level professional nature and require preparation at the Bachelor’s Degree
level in Computer Science or a related area at a minimum. The USCIS defines one of the
standards for a Specialty Occupation as a position that requires a Baccalaureate or higher degree
or its equivalent for the particular position. It is my opinion that this Application Support-ITRR

3
    http://www.flcdatacenter.com/download/NPWHC_Guidance_Revised_11_2009.pdf
4
    https://data.bls.gov/projections/nationalMatrix?queryParams=15-1132-729&ioType=o


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position meets this requirement and qualifies as a USCIS Specialty Occupation, and that this
position qualifies as an entry-level position.

                 Discussion of Academic Credentials of Mr. Balusu

        The following discussion reflects the academic credentials attained by Mr. Jagadish
Kumar Balusu during the course of his academic studies. An analysis of Mr. Balusu’s attainment
of a Master of Science in Computer Science from University of New Haven forms the basis for
the following discussion.

ACADEMICS

        •   University of New Haven is an accredited institute of higher learning in the United
            States.

        University of New Haven’s Master of Science in Computer Science program requires
graduation from Bachelor’s-level and competitive entrance examinations for admission and
enrollment. Mr. Balusu completed all qualifying academic course work subsequent to his
enrollment in the institute. In May 2016, he completed examinations and was awarded a Master
of Science in Computer Science. Mr. Balusu has fulfilled the requirements in his area of
concentration, Computer Science, and has earned a Master of Science in Computer Science from
the institute.

         Having reviewed Mr. Balusu’s academic history, it becomes apparent that Mr. Balusu has
satisfied requirements leading to the completion of a Master’s Degree program at an accredited
institution of higher education in the United States.

SUMMARY

       On the basis of the credibility of University of New Haven, the number of years of course
work, the nature of the course work, and related areas, Mr. Balusu has attained a Master's Degree
in Computer Science from an accredited institution of higher education in the United States.

      Suitability of Mr. Balusu for the Application Support-ITRR Position

        Having reviewed the responsibilities required by the Application Support-ITRR position
and the academic credentials of Mr. Balusu in detail, it is my expert opinion that Mr. Balusu’s
background has clearly prepared him for the position of Application Support-ITRR for Tekway,
Inc. This is because the knowledge attained by Mr. Balusu during the course of his academic
studies directly corresponds to, and is a necessary requirement for, the specific duties of the
position. As detailed above, the Application Support-ITRR position is an entry-level specialty
occupation that requires at least a Bachelor’s Degree in Computer Science or a related area, or
the equivalent. It is my opinion that this Application Support-ITRR position meets this
requirement and qualifies as a USCIS Specialty Occupation, and that this position qualifies as an
entry-level position. Further, Mr. Balusu has exceeded this requirement by having attained a


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Master's Degree in Computer Science from an accredited institution of higher education in the
United States based upon his extensive academic background. For these reasons, Mr. Balusu is
eminently qualified for this entry-level, specialty occupation Application Support-ITRR position,
and I therefore strongly encourage the endorsement of the H-1B visa application filed by
Tekway, Inc. on behalf of Mr. Balusu.


Sincerely,




Dr. Michael K. Lavine
Adjunct Professor
The Graduate School - Cybersecurity & Information Assurance Department




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                             DR. MICHAEL KEITH LAVINE
                                  E-Mail: mlavine@gmail.com


                                     CAREER SUMMARY

Senior IT professional with over 25 years of work, consulting and research experience in information
systems development and technology project implementations for Fortune 1000 companies,
international corporations and medium-size regional organizations. A proven expert in the IT
industry with current real-world experience leading large and medium technical teams. Previously,
a Research Assistant Professor in Computer Science at the Whiting School of Engineering at Johns
Hopkins University. At present, a Full Adjunct Professor of Cyber Security at the University of
Maryland – University College.

Extensive Expertise in: System Development, System Engineering, Enterprise Architecture,
Communication Systems, Cloud Computing, Cyber Security, E-Commerce Systems, Data Science,
Computer Networks and Protocols, Human Computer Interaction, Mobile Technologies, Computer
Forensics, Computer Hardware, Information Assurance, and Web Usability.

Prior Consulting and Grant Collaboration with: Microsoft Corporation, Lucent Technologies, NICE
Systems, Boeing Corporation, L3 Communications, Bank of America, Bank of China, CP Ships,
SiRRAN Corporation, Learning Tree Corporation, Carlson Wagonlit, C. Mer Corporation, Phoenix
Vessel Services, National Security Agency, Department of Defense, Department of Homeland
Security, LifeBridge Health System, and various International Law Firms.

Enterprise Systems: SAP, PeopleSoft, Oracle Financials, Salesforce and Workday.

Database Systems: Microsoft SQL Server, MySQL, Oracle, DB2, and Sybase.

Programming, Markup and Scripting Languages: Java, Python, Perl, PHP, C#, C++, COBOL,
HTML, Visual Basic, XML, and Windows PowerShell.

Operating Systems: Windows, UNIX (e.g. AIX, Solaris, HP-UX), LINUX, OS/400, z/OS, and MVS.

Business Intelligence and Data Analytics: Microstrategy, Tableau, Qlick, SPSS, IDEA, and ACL.

Office Automation: MS-Office Suite, Office 365, Visio, MetricStream, and Lotus Notes.


                                          EDUCATION

Ph.D.   City University, Cass Business School, London, England, March 2007
        Major: Management
        Minors: Information Systems and Electronic Commerce
        Doctoral Program Ranking: 24th Globally by the Financial Times in 2007/2008
        Research Project: Cyber Security Information Sharing in the United States: An
        Empirical Study Including Risk Management and Control Implications 2000-2003
        Dissertation Advisor: Professor Georges M. Selim

M.S.    Johns Hopkins University, Baltimore, Maryland, May 1999
        Information and Telecommunication Systems for Business
        Concentration: Telecommunication Systems
        Thesis Project: “Security and Trust Issues in Electronic Commerce”

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MSc.    City University, Business School, London, England, February 1997
        Internal Auditing and Management
        Thesis Project: “Implementing, Controlling and Auditing SAP R/3”

B.S.    Touro College, New York, New York, May 1988
        Finance - Magna Cum Laude and Departmental Honors
        Additional Coursework: 30 credit hours of undergraduate Accounting courses


                                  ACADEMIC EXPERIENCE


9/12 to Present               University of Maryland - University College
6/99 to 8/05                  Adelphi, Maryland

Adjunct (Full) Professor – Currently, I am teaching the final capstone simulation and modeling
online course in the MS in Cyber Security Program. Previously, taught graduate and undergraduate
online courses in Internet Applications, Electronic Commerce, Management Information Systems,
Accounting Information Systems and Auditing.

9/11 – 6/12                   Johns Hopkins University – Information Security Institute
                              Department of Computer Science, Whiting School of Engineering
                              Carey Business School, Senior Professional Instructor
                              Baltimore, Maryland

Research Assistant Professor                                                            7/10 – 6/12
Lecturer                                                                                7/09 – 6/10
Adjunct Professor                                                                       7/05 – 6/09

Provided classroom instruction for the Advanced Computer Forensics, Computer Forensics and
Information Assurance Policy courses in the specialized Masters of Science in Security Informatics
(MSSI) degree program. Pursued various government and non-government research grant
opportunities. Developed a new course in Computer Forensics and work with industry practitioners
to collaborate on an interactive laboratory. Supervise various MSSI research projects in a wide range
of technical and policy domains. Also, provided classroom instruction for the following MBA
courses: Information Systems, Information Systems Financial Management, Technology
Management and Outsourcing, Organizational Behavior, Social Entrepreneurship and Auditing.

August 2005 to Summer 2010           University of Maryland – R.H. Smith School of Business
                                     College Park, Maryland

Lecturer
Taught the undergraduate Accounting Information Systems (BMGT326) course (3-4 sections per
semester) in addition to Auditing and Financial Accounting courses. Also, taught an MBA elective,
Information Technology and Corporate Transformation in the Fall 2005 semester. Developed two
preliminary course syllabi for the new Executive Masters of Science (EMS) program.

October 1999 to June 2011            City University – Cass Business School
                                     London, England

Visiting Lecturer – Faculty of Management                                              10 /99 – 6/11
Associate Researcher – Centre for Research in Corporate Governance                       4/07 – 6/11

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Advisory Board Member – Centre for Internal Auditing                                 11/04 – 6/10
Provided classroom instruction for the Auditing Information Systems, Control and Auditing Systems,
Operational Auditing, Corporate Governance, Audit Practice, and Concepts of Control post-graduate
courses on the China EMBA, MSc. in Management and MSc. in Internal Auditing and Management
programs. Supervise various EMBA and MSc. student research projects.

Summer 2003 to Summer 2010           Norwich University
                                     Northfield, Vermont

Senior Instructor – Taught highly specialized on-line courses in Human Factors, Technical
Defenses, Management Topics and Foundations of Information Assurance in the Masters of Science
in Information Assurance degree program.

Fall 1997 to June 2005               Towson University
                                     Towson, Maryland

Assistant Professor of Computer and Information Sciences (CIS)                       8/03 – 6/05
Visiting Assistant Professor of CIS and Accounting                                   8/00 – 7/03
Provided comprehensive classroom instruction for a variety of Computer Information Systems,
Computer Science and Business undergraduate courses including: Information Assurance, Computer
Security, Electronic Commerce, Systems Analysis and Design, Financial Aspects of Electronic
Commerce, HCI, MIS, AIS, Advanced Auditing, and Principles of Auditing. Served as project
manager for the National Security Agency’s Center of Academic Excellence in Information
Assurance Education program which was accepted and certified upon the first submission in AY
2001-2002. Served as Co-Faculty Advisor for the Computer and Technology Club. Participated in
various committees related to Computer Science and CIS curriculum, research and student advising.

Senior Lecturer of Accounting                                                           9/97 – 7/00
Provided classroom instruction for undergraduate classes in Accounting Information Systems,
Advanced Auditing, Principles of Auditing, Principles of (Financial) Accounting I, and Principles of
(Managerial) Accounting II; in this AACSB accredited accounting program. Advised accounting
students about career options, summer internships, and job opportunities. Served as liaison to CPA
firms and businesses for department functions, internship placement and student job fair.


                                  INDUSTRY EXPERIENCE


06/13 to Present                     T. Rowe Price, Inc.
                                     Baltimore, Maryland

Senior Technical Auditor
Conduct reviews, assessments, audits and consulting projects of the organization’s cyber security
technologies and high risk information technologies used by trading, portfolio management and IT
personnel. Specialize in incident response and management, Oracle and internally developed
applications. Provide cybersecurity SME services to various departments in the organization.

07/10 to 12/16                       Cyber Security Group, S.A
                                     Panama City, Panama

Chief Technology Officer
Provide technical thought leadership on a wide range of telecommunications security and technical
security countermeasures for clients in the government and private sectors. Assist the Managing
Director in developing business development strategy and sales and marketing activities involving
                                                                                                  3
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manufacturers, value added resellers and end customers. Research and develop customized solutions
for intelligence, military and law enforcement uses.

11/14 to 12/15                        Mobile Security
                                      Seoul, South Korea

Chief Technology Officer
Provide technical thought leadership on a wide range of telecommunications security and technical
offensive mobile security techniques for small scale digital device for the government and private
sectors in Latin America. Assist the Managing Director in developing business development, sales,
marketing, and research activities for the company through various use cases for worldwide
application.


07/10 to 5/13                         Cyber Security Associates, LLC
                                      Baltimore, Maryland

Managing Director
Provided thought leadership to a foreign ally in Central America, U.S. national and state government
organizations and businesses on cyber security. Designed and developed a 9 course 100% online
Masters degree program in Cyber Security for the second largest public university in the USA.
Perform a wide range of technical and policy related cyber security projects in the USA and Latin
America.


11/03 to 7/10                         Homeland Security Consultants, Inc.
                                      Baltimore, Maryland

Managing Director
Conduct and coordinate a wide variety of computer forensics, electronic discovery, IT auditing,
information assurance, security, information systems, auditing, fraud investigation and management
consulting projects for a diverse group of international clients. Deliver professional training courses
in the United Kingdom, Europe and Asia. Develop extensive experience working with law
enforcement, government security specialists and senior business management.

10/97 to 6/00                         PricewaterhouseCoopers, LLP
                                      Baltimore, Maryland

Senior Associate – Operational and Systems Risk Management Services
Provided information technology audits, security reviews, and consulting services to a wide variety
of clients in the financial services, manufacturing, high technology, healthcare, middle market and
government sectors. Coordinated annual audit support work for large and medium size organizations.
Formulated business development strategies and specific opportunities to deliver additional firm
services to prospective and existing clients.


                     MAJOR RESEARCH AND TEACHING INTERESTS

 IT, Computer Science, Information Systems, Cloud Computing, Emerging Technologies, Mobile
 Commerce, Wireless Technologies, Artificial Intelligence, Data Science and Forensic Computing

                           E-LEARNING MANGEMENT SYSTEMS

                           Blackboard, WebCT, WebTycho and Moodle
                                                                                                     4
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                        GRANTS FUNDED RESEARCH PROJECTS

“Developing and Evaluating a Standardized Approach to Security Management Systems for U.S. and
Israeli Hospitals: Security Management Systems and Required Technologies”, (with W. Jaquis, M.D.
and S. Scharf, M.D.), U.S. – Israel Science & Technology Foundation, November 2004 to June 2006

“An Information Assurance Scholarship Program for Towson University”, (with A. Behforooz and
P. Beere and J. Clements,), United States Department of Defense, August 2003 to August 2004

“The Role of the Internal Auditor in Mergers, Acquisitions and Divestitures”, (with G.M. Selim and
P.S. Sudarsanam), Institute of Internal Auditors Research Foundation, July 1999 to June 2002

Towson University, College of Graduate Education and Research, Summer Research Grant
(including matching funds from the College of Science and Mathematics), 2002, 2003, and 2004


                             PUBLISHED JOURNAL ARTICLES

“Liberty Bell Hospital: A Case Study in Employee Computer Fraud”, (with A.A. Baldwin and C.L.
Martin), Journal of Business Cases, Volume 2, Issue Number 3, Fall 2006

“The Role of Internal Auditors in Mergers, Acquisitions and Divestitures: An International Study”,
(with G.M. Selim and P.S. Sudarsanam), International Journal of Auditing, Volume 7, Issue Number
3, November 2003

“Ten Professional Journals on Accounting Information Systems”, (with A.D. Schiff), The Ohio CPA
Journal, April/May 2002

“A Comprehensive Bibliography of Professional Journal Articles on Accounting Information
Systems”, (with A.D. Schiff), Review of Business Information Systems, Fall 2001

“The Impact of Electronic Commerce on Information Technology Auditing”, (with A.A. Baldwin),
Review of Accounting Information Systems, Winter 2000

“Internal Audit Outsourcing: A View from Both Sides of the Fence”. (with C.L. Martin), The CPA
Journal, March 2000

“Implementation Issues for SAP R/3 Accounting Software”, (with W.R. Melville and G.D. Moyes),
Review of Accounting Information Systems, Fall 1997

“Fraud: Which Audit Techniques Work in Detecting Fraud?”, (with G.D. Moyes), Corporate
Controller (now known as CFO), Volume 10, Issue Number 6, August/September 1997


      PEER-REVIEWED CONFERENCE PAPERS WITH PROCEEDINGS AND/OR
                            ABSTRACTS

“A Discretionary Access Control Method for Preventing Data Exfiltration via Removable Devices”,
(with D. Wilson), International Conference on Digital Forensics and Cyber Crime”, Albany, New
York, September 30 – October 2, 2009



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“The Roles of Artificial Intelligence, Data Mining, and Knowledge Management in Accounting and
Auditing: A Research Synthesis”, (with Trinkle, B., Baldwin, A., Balli, E., Berry, B., Deshmukh, A.,
McKee, T., Ragothaman, S., Rosner, R. and Yao, L.), Eighteenth Annual Research Workshop on
Strategic and Emerging Technologies, American Accounting Association Annual Conference, New
York City, New York, August 2, 2009

“Acer Aspire Netbooks: A Forensic Challenge”, (with A. Singh, T. Shiralkar and B. Turnbull), First
IEEE International Workshop on Computer Forensics in Software Engineering, Seattle, Washington,
July 20-24, 2009

“Computer Software Bugs and Other IT Threats to Critical Infrastructure: A Preliminary Set of
Considerations for IT Governance”, (with G. Selim), Seventh European Academic Conference on
Internal Audit and Corporate Governance, April 15-18, 2009

“A Preliminary Approach to Conducting a Forensic Analysis of an Ultraportable ASUS Eee PC”,
(with T. Shiralkar and B. Turnbull), The International E-Forensics Conference, Adelaide, Australia,
January 19-21, 2009

“An     Efficiency   Model      Study to     Evaluate   the   Impact    of    Port     Security
Activities on Port Productivity”, (with M. Gonzalez, G. Quesada, and B. Trinkle), International
Symposium and Workshop on Global Supply Chain, Inter-Modal Transportation and Logistics,
Toledo, Ohio, October 25, 2007

“Detecting Non-Discoverable Bluetooth Devices: A Parallelized, Collision Resistant and Condensed
Timing Approach”, (with D. Cross, J. Hoeckle, J. Rubin and K. Snow), IFIP WG 11.10 First
International Conference on Critical Infrastructure Protection, Hanover, New Hampshire, March 16,
2007

“Interim Research Observations about Critical Infrastructure Protection Information and Corporate
Governance Issues through Public and Private Sector Cooperation in the United States”, (with G.M.
Selim), Third Annual Internal Audit and Corporate Governance Conference, London, England, April
9, 2005

“The Role of Internal Audit in Critical Infrastructure Protection and IT Governance: Developing a
Research Agenda”, (with A.A. Baldwin and W.R. Melville), Second Annual Internal Audit and
Corporate Governance Conference, London, England, April 23, 2004

“A Current Perspective on the Diverse US Government Initiatives to Secure Cyberspace”, Third
European Conference on E-Government, Dublin, Ireland, July 3, 2003

“An Undergraduate Track in Computer Security”, (with S. Azadegan, M. O’Leary, A. Wijesinha and
M. Zimand), Eighth Annual Conference on Innovation and Technology in Computer Science
Education, Thessaloniki, Greece, July 1, 2003

“Protecting the United States Homeland against Information Warfare and Cyber Terrorism”, Second
European Conference on Information Warfare and Security, Reading, England, June 30, 2003

“A Dedicated Undergraduate Track in Computer Security Education”, (with S. Azadegan, M.
O’Leary, A. Wijesinha and M. Zimand), Third World Conference on Information Security Education,
Monterey, California, June 27, 2003




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“Utilizing Vulnerability Scanning Tools in an Introductory Undergraduate Information Systems
Security Course”, Sixteenth Annual Federal Information Systems Security Educators Association
Conference, Silver Spring, Maryland, March 4, 2003

“The U.S. National Infrastructure Protection Center: 1999-2001 - A Research in Progress Study”,
Third Australian Information Warfare Conference, Perth, Australia, November 28, 2002
“Benefits of Recognition as a Center of Academic Excellence in Information Assurance Education
by the U.S. National Security Agency”, (with S. Azadegan), Third Australian Information Warfare
Conference, Perth, Australia, November 29, 2002

“Information Sharing in Information Systems Security and Auditing”, First European Academic
Conference on Internal Audit and Corporate Governance, Prague, Czech Republic, October 18, 2002

“The Role of Internal Auditors in Mergers, Acquisitions and Divestments”, (with G.M. Selim and
P.S. Sudarsanam), First European Academic Conference on Internal Audit and Corporate
Governance, Prague, Czech Republic, October 18, 2002

“U.S. Federal Government Attempts to Address the Changing Issues in National Security: An
Investigation into the Role of IT Security Protection”, International Applied Business Research
Conference, Puerto Vallarta, Mexico, March 16, 2002

“Liberty Bell Hospital: A Case Study in Employee Fraud”, (with C.L. Martin), International Applied
Business Research Conference, Cancun, Mexico, March 21, 2001

“New Strategies for Global Financial Reporting in the New Economy”, (with M. Maloo),
International Association for Accounting and Education Research, Third Biennial International
Accounting Research Conference, Kobe, Japan, October 7, 2000

“Key Information Technology Security, Trust and Audit Concerns in an Electronic Commerce
Environment”, Asian Academic Accounting Association, 2000 Annual Meeting, Singapore, August
28, 2000

“The Effectiveness of Federal Government Programs in Healthcare Fraud”, (with R. Komenski and
C.L. Martin), Decision Sciences Institute, 1999 Annual Meeting, New Orleans, Louisiana,
November, 20, 1999

“The Impact of Electronic Commerce on Information Technology Auditing”, (with A.A. Baldwin),
Eighth Annual Research Workshop on Artificial Intelligence and Emerging Technologies in
Accounting, Auditing and Tax, San Diego, California, August 14, 1999

“Internal Audit Outsourcing: A View From Both Sides of the Fence”, (with C.L. Martin), American
Society of Business and Behavioral Sciences, 1999 Annual Conference, Las Vegas, Nevada,
February 12, 1999



                                       INVITED TALKS

“Enterprise Risk Management and Its Strategic Role in Belgian Public Sector Services”, Executive
Staff Secretariat to the Prime Minister, Federal Government of Belgium, March 18, 2010

“Security Management Systems in the U.S. and Israel: A Grant Project Status Update”, Maryland
Chapter of the International Healthcare Security and Safety Association, Baltimore, MD, October
12, 2005
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“Mergers and Acquisitions: The Role of Internal Auditors”, Institute of Internal Auditors, Financial
Services Conference, Arlington, VA, April 12, 2004


        BOOKS, BOOK CHAPTERS, TECHNICAL REPORTS, AND EDITORIALS

“Information Security and Assurance”, Book Chapter, Introduction to Maritime Security, Editor
M. McNicholas, Butterworth-Heinemann Publishing, London, December 2007

“Detecting Bluetooth Devices”, (with D. Cross, J. Hoeckle, J. Rubin and K. Snow), Book Chapter,
IFIP Series on Critical Infrastructure Protection, Editors E. Goetz and S. Shenoi, Springer Publishing,
November 2007, ISBN 978-0-387-75461-1

“IT Security Essential Body of Knowledge: A Competency and Functional Framework”, U.S.
Department of Homeland Security - National Cyber Security Division, Contributor and Subject
Matter Expert, Technical Report, September 2007

“E-Commerce and Auditing”, (with A.A. Baldwin), An Editorial, International Journal of Auditing,
Volume 7, Issue Number 2, July 2003

“Mergers, Acquisitions and Divestitures: Control and Audit Best Practices”, (with G.M. Selim and
P.S. Sudarsanam), Book, The Institute of Internal Auditors Research Foundation, Altamonte Springs,
Florida, 2002

“Corporate Fraud”, Book Review, The Accounting Review, American Accounting Association,
Volume 74, Issue Number 2, August 1999


                            CURRENT RESEARCH IN PROGRESS

“Software Bugs as Vulnerabilities in the U.S. Critical Infrastructure”

“Arguments for Expanding the Utilization of the Einstein System to the Private Information
Infrastructure in the United States”

“An Event Study Analysis of U.S. Critical Infrastructure Protection”

“Threat Assessment and Communication Methods in the Critical Infrastructure Protection – A U.S.
Perspective”


                 JOURNAL EDITORIALSHIPS AND REFEREE POSITIONS

Member, Editorial Board, International Journal of Digital Forensics & Incident Response

Member, Editorial Board, International Journal of Auditing

Ad-Hoc Reviewer, IEEE Security & Privacy, International Journal of Critical Infrastructure
Protection, Journal of Electronic Commerce Research, International Journal of Accounting, Auditing
and Performance Evaluation

Guest Co-Editor, International Journal of Auditing, Special Issue on the Impact of E-Commerce on
Auditing, Spring 2003
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              SERVICE FOR ACADEMIC CONFERENCES AND MEETINGS

Conference Program Committee Member and Reviewer for the following events:

Colloquium of Information Systems Security Education, 2011
Human Aspects of Information Security and Assurance International Symposium, 2008 thru 2012
IFIP WG 11.10 International Conference on Critical Infrastructure Protection, 2011 thru 2007
International Conference on Intelligent Pervasive Computing, 2007

Reviewer for the following events:

European Conference on Information Warfare and Security, 2005 thru 2013
European Conference on Electronic Government, 2006 thru 2009
Hawaii Int’l. Information Systems Conference Computer Forensics Mini-Track, 2009, 2008, and
2007
International Conference on Information Warfare, 2006 thru 2013


                                         CITIZENSHIP

                                     United States of America




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Software Developers
                                                                                                                                                                      PRINTER-FRIENDLY



  Summary          What They Do         Work Environment            How to Become One          Pay      Job Outlook      State & Area Data         Similar Occupations          More Info



 Summary
                                  Quick Facts: Software Developers
                                                                    $103,560 per year
  2017 Median Pay
                                                                    $49.79 per hour
  Typical Entry-Level Education                                     Bachelor's degree
  Work Experience in a Related Occupation                           None
  On-the-job Training                                               None
  Number of Jobs, 2016                                              1,256,200
  Job Outlook, 2016-26                                              24% (Much faster than average)
  Employment Change, 2016-26                                        302,500


 What Software Developers Do
 Software developers are the creative minds behind computer programs. Some develop the applications
 that allow people to do specific tasks on a computer or another device. Others develop the underlying systems that run the devices or that control networks.

 Work Environment
 Many software developers work for firms that deal in computer systems design and related services, manufacturing, or for software publishers.

 How to Become a Software Developer
 Software developers usually have a bachelor’s degree in computer science and strong computer programming skills.

 Pay
 The median annual wage for software developers, applications was $101,790 in May 2017.

 The median annual wage for software developers, systems software was $107,600 in May 2017.

 Job Outlook
 Employment of software developers is projected to grow 24 percent from 2016 to 2026, much faster than the average for all occupations. Software developers
 will be needed to respond to an increased demand for computer software.

 State & Area Data
 Explore resources for employment and wages by state and area for software developers.

 Similar Occupations
 Compare the job duties, education, job growth, and pay of software developers with similar occupations.

 More Information, Including Links to O*NET
 Learn more about software developers by visiting additional resources, including O*NET, a source on key characteristics of workers and occupations.


                                                                                                                                                                        What They Do ->


  SUGGESTED CITATION:

  Bureau of Labor Statistics, U.S. Department of Labor,   Occupational Outlook Handbook, Software Developers,
  on the Internet at https://www.bls.gov/ooh/computer-and-information-technology/software-developers.htm (visited   September 04, 2018).
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Last Modified Date: Friday, April 13, 2018


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        U.S. Bureau of Labor Statistics | Office of Occupational Statistics and Employment Projections, PSB Suite 2135, 2 Massachusetts Avenue, NE Washington, DC 20212-0001
                                                              www.bls.gov/ooh | Telephone: 1-202-691-5700 | Contact OOH
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                                                                                    Te kway
                                                                                 Paving the Way for Technology




    August 20, 2018


    Dear USCIS Officer:

    This letter is to establish that our company has a past practice of hiring persons with a bachelorette
    degree, or higher in Computer Science engineering to perform the specialized duties of an
    Application Support-ITRR (Software Developer).

    The following individual performed services in the capacity of a Software Developers, Applications
    (SOC Code 15-1132) with a Master’s degree in Information Systems, Information Technology,
    Computer Science or a related area for this position.

    Enclosed are copies of the individual’s degrees, transcripts and pay records.



                                                                  Highest Educational         SOC CODE
NO          Employee Name           Job Title
                                                                  Qualification

            Abhinav Reddy Kota      Sr. Java Developer            Master’s degree in          15-1132
1                                                                 Information Systems

            Vinaykumar Swarna       Application Support -ITRR     Master’s degree in          15-1132
2                                                                 Information Systems

            Jagadish Kumar          Application Support -ITRR     Master’s degree in          15-1132
3           Balusu                                                Computer Science

            Jaswanth Potini         Sr. Java Developer            Master’s degree in          15-1132
4                                                                 Software Engineering

            Deepthisha Jalli        Sr. Java Developer            Master’s degree in          15-1132
5                                                                 Digital sciences

            Lakshmi Sunanda         Oracle Developer              Master’s degree in          15-1132
6           Alluri                                                Computer Science

            Sravya Kandukuri        Oracle Developer              Master’s degree in          15-1132
7                                                                 Computer Science

                 4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-9458/9459
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            Manoj Kumar            Sr. Java Developer           Master’s degree in       15-1132
8           Koduru                                              Computer and
                                                                Information Science
            Stevenson Sunchu       Sr. Java Developer                                    15-1132
9                                                               Master’s degree in
                                                                Information Systems
            Harika Adusumalli      Sr. Java Developer           Master’s degree in       15-1132
10                                                              Computer Science and
                                                                Information Technology
11          Sai Kishen Thentu      Sr. Java Developer           Master’s degree in       15-1132
                                                                Computer Science



    Please do not hesitate to contact me with any questions or concerns.


    Sincerely,




    ________________________
    Pavan Kumar
    Operation Manager
    Tekway Inc.
    Phone: 630-493-9458/9459
    Email: Pavan@tekwayinc.com




                 4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-9458/9459
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                  Lucid Technologies
                                                            The Logical Solutions
August 20, 2018

To whom it may concern:


This letter is to confirm that our company Lucid Technologies Inc. with office located at
8600 Freeport PKWY, STE 300, Irving TX 75063 is in the business of providing IT
staffing and software development services, and currently has 80 employees. We hereby
confirm that we employ individuals using SOC Code 15-1132, Software Developer
(Application Support-ITRR), to perform software programming tasks using various
technologies. We require the equivalent of a U.S. Bachelor’s degree in Information
Systems, Information Technology, Computer Science or a related area for this position.

If you have any further questions or require additional documentation, please do not
hesitate to contact us.


Regards,




Name: Shashidhar Devireddy
Title: President
Phone: 214 385 4144 EXT 307
Email: devireddy@lucidtechinc.com




                          8600 Freeport Pkwy, Suite: 300, Irving, TX 75063
                              Tel: 214-385-4144, Fax: 214-889-5857
                                      info@lucidtechinc.com
                                      www.lucidtechinc.com
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                                       Te kway
                                    Paving the Way for Technology



                                     EMPLOYMENT CONTRACT

This Employment Contract is entered into between Tekway Inc, incorporated in Illinois, bearing EIN:
XX-XXXXXXX, located at 4104 Sterling Road, Downers Grove, IL-60515 (hereinafter referred to as
“Employer”), and Jagadish Kumar Balusu bearing SSN: XXX-XX-XXXX residing at 1908 Reston metro
plaza, Apt 1221, Reston, VA 20190(hereinafter referred to as “Employee”) as described below:
    Whereas, ‘Employee’ has expertise in the field of IT consulting services.
    Whereas, ‘Employee’ has met with the Officer of ‘Employer’ to explore the possibilities of being
    employed as an Application Support Consultant.
    Whereas, as ‘Employee’ meets the qualifications established for the job position, ‘Employer’ has
    expressed a willingness to hire ‘Employee’ on full-time hourly basis as an Application Support
    Consultant.
    Whereas, ‘Employment Date’ is agreed upon by both ‘Employer’ and ‘Employee’ as the date on
    which Employee reports to a billable assignment of the client of Employer.
    Whereas, ‘Term of Employment’ is defined as the period of employment from ‘Employment Date’
    to that date or the date on which this Employment Contract is terminated, whichever occurs first.

The ‘Employee’ and ‘Employer’ hereby mutually agree on Sep 6th 2017 to the following covenants:

1) ‘Employee’ agrees to accept employment with ‘Employer’ as an Application Support Consultant.

2) ‘Employee’ hereby acknowledges and agrees to the following conditions of employment during
   ‘Term of Employment’:

    a) ‘Employee’ agrees to work on a full-time basis exclusively for ‘Employer.’ A workload of 40
       (forty) hours per week is considered as full-time employment.

    b) Whenever ‘Employer’ so directs, ‘Employee’ agrees to work either at the premise of
       ‘Employer’ or at the premise of a Client of the ‘Employer.’

    c) Whenever ‘Employee’ works in the premises of ‘Employer,’ ‘Employee’ agrees to adhere to
       the conduct guidelines specified in ‘Employee Conduct Guidelines Manual’ of ‘Employer’ in
       force at that time.

    d) Whenever ‘Employee’ works in the premises of any Client of ‘Employer,’ ‘Employee’ agrees
       to adhere to the prevailing employee conduct guidelines of the Client of ‘Employer’ in
       addition to the employee conduct guidelines of ‘Employer.’

    e) Whenever ‘Employee’ works in the premises of any Client of ‘Employer,’ each week
       ‘Employee’ agrees to do the following tasks: (i) keep track of the number of regular and
       overtime hours worked by day, (ii) duly complete the ‘Time Sheet’ in the format specified by
       either ‘Employer’ or the Client of ‘Employer’ as directed by ‘Employer,’ (iii) promptly obtain
       written approval on the ‘Time Sheet’ from the supervising officer of the Client of ‘Employer,’
       and (iv) promptly enter Internet form or fax ‘Time Sheet’ to ‘Employer’ the same business
       day in which such approval is obtained.

    f)   Whenever ‘Employee’ receives any direct compensation from any Client of ‘Employer’ or any
         other entity for the services provided by ‘Employee,’ ‘Employee’ agrees to turn in all such
         monies to ‘Employer.’ However, ‘Employee’ is allowed to keep monies obtained from public
         performances in events recognized by ‘Employer’ to be conducive for employment such as
         honorariums, awards, lecture fees, and article fees in the field of his or her profession,
         provided such activities do not interfere with regular work.
   g) ‘Employee’ agrees to maintain the confidentiality of all matters related to in-house and Client
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      projects of ‘Employer.’ ‘Employee’ hereby acknowledges that the following information is
      confidential and valuable to ‘Employer’:

            (1) Confidentiality related to the Clients of ‘Employer’: all information related to the
                projects of Clients of ‘Employer’ including but not limited to the names of Client
                organizations, locations of Client organizations, names of managers of Client
                organizations, current projects of Client organizations, plans of Client related to
                project extensions, plans of Client related to new projects, information technology
                skill sets needed for Client projects and any other information related to the Clients
                of ‘Employer’ that ‘Employee’ might obtain directly or indirectly during ‘Term of
                Employment.’ This restriction does not apply for publicly available information
                related to the projects of Clients of ‘Employer.’

            (2) Confidentiality related to in-house projects of ‘Employer’: all information including
                but not limited to the names, locations, nature, intended market segments,
                Information technology skill sets, execution plans of all in-house projects of
                ‘Employer’ and any additional information obtained directly or indirectly during
                ‘Term of Employment.’ This restriction does not apply to publicly available
                information related to in-house projects of ‘Employer.’

            (3) Confidentiality related to information technology methods and business practices of
                Employer: all information related to the methodology used by ‘Employer’ in
                executing its in-house and Client projects, and all information related to the
                business methods used by ‘Employer’ to motivate its employees and grow its
                business.

   h) Non-Disclosure: ‘Employee’ agrees not to disclose any one during ‘Term of Employment’ and
      for twelve months after termination of this Employment Contract any confidential
      information described in above sections g(1), g(2), and g(3) to any party without express
      written authorization of an Officer of ‘Employer.’

   i)   Non-Publicity: ‘Employee’ hereby agrees to the following restrictions during ‘Term of
        Employment’ and for a period of twelve months after termination of employment, on
        disclosing information related to in-house or Client projects of ‘Employer’ to any public or
        private forum through any communication media. Accordingly, ‘Employee’ agrees to the
        following restrictions during this period: (i) not to communicate with press, (ii) not to share
        information with any public relation entity, (iii) not to write books, memoirs, articles,
        monographs or other publications related to in-house or Client projects, and (iv) not to
        adversely impact the prospects of ‘Employer’ being listed in a stock exchange by interfering
        in public or private forums such as road shows, general body meetings, and other investor
        gatherings.

   j)   Non-Hire: ‘Employee’ hereby agrees that he or she will not hire or attempt to hire for his or
        her own company, or recruit or attempt to recruit for any other company, any employees of
        ‘Employer’ either directly or indirectly during ‘Term of Employment’ and for a period of
        twelve months after the termination of this Employment Contract. The only exception to
        this condition is when ‘Employee’ obtains a written authorization from an Officer of
        ‘Employer’ to do so.

   k) Non-Competition: ‘Employee’ hereby agrees that he or she will not compete directly or
      indirectly with ‘Employer’ in the field of information technology consulting during ‘Term of
      Employment’ and for a period of twelve months after the termination of this Employment
      Contract, unless ‘Employee’ obtains a written authorization from an Officer of ‘Employer’ to
      do so.

   l)   Non-Solicitation: ‘Employee’ hereby agrees that he or she will not solicit business from
        Clients of ‘Employer’(either directly or indirectly) and other information technology

Employment Contract                                                                          Page 2 of 4

        4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-9458/9459
        consulting firms that he or she gets to know as a direct/indirect consequence of being
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      employed with ‘Employer’ during ‘Term of Employment’ and for a period of twelve months
        after the termination of this Employment Contract, unless ‘Employee’ obtains a written
        authorization from an Officer of ‘Employer’ to do so.

    m) Whenever ‘Employer’ so directs or upon termination of this Employment Contract,
       ‘Employee’ agrees to return to an officer designated by ‘Employer’ all material related to in-
       house projects of ‘Employer’ and/or Client projects of ‘Employer.’ Such materials include but
       not limited to software, hardware, software tools, tapes, floppy discs, CD ROMs, zip discs,
       external hard drives, other storage media, laptops, computers, manuals, libraries, books,
       activity charts, project planning materials, personal digital assistants, pagers, cell phones,
       keys, passwords, and other materials related to in-house and Client projects of ‘Employer.’

    n) ‘Employee’ hereby acknowledges that any violation of above thirteen conditions of
       employment (as described in sections 2 a) to 2 m) constitutes a material breach of this
       Employment Contract and is a sufficient basis for the termination of the employment of
       ‘Employee’ with ‘Employer.’ ‘Employee’ also agrees that in case of not returning any client
       property at the time of termination, "Employer" has the right to collect the said materials
       through legal channels. "Employee" also agrees to pay the "Employer" for any legal expenses
       that incur in this process of collecting the client materials / properties.

3) In consideration of above services, ‘Employer’ agrees to compensate ‘Employee’ as described
   below:

    a) An hourly rate of $20/hr for straight, over time hours, and you will not be paid for any
       vacation or public holidays. You will be paid as per hours mentioned in your client-approved
       timesheets.

4) Termination: ‘Employer’ or ‘Employee’ can terminate this Employment Contract without
   assigning any cause with a written notice of two weeks after fulfilling the 12 consecutive
   months of employment. If the "Employee" fails to provide the mandatory 2 week notice,
   the "Employer" has the rights to withhold the pay for that particular period, in order to
   avoid damages to the employer or pay the damages to the client, that are caused due to
   the breach of contract by the "Employee".

6) Force Majeure: Neither party shall be liable to the other party or be deemed to be in breach of
   this contract for any failure or delays in rendering performance arising out of causes beyond its
   control and without its fault or negligence. Such causes may include but are not limited to acts of
   God, act of a public enemy, fire, floods, epidemics, quarantine restriction, strikes, freight
   embargo, or loss of use of Internet site through no fault of either party.

7) Conflict of Laws: The parties agree that they shall comply with all laws, rules, regulations,
   ordinances, or other requirement of the State of Illinois, Dupage County and other governmental
   agencies that have regulatory oversight on the transactions described in this Contract. Any
   breach of laws, ordinances, etc. shall be borne exclusively by the party upon who said obligation
   rests. If a party breaches any of the aforementioned laws, rules, regulations, etc., said party shall
   indemnify and hold harmless the non-breaching party, its officers, employees, agents against any
   and all liability, loss, damages, penalties, cots or expenses for any damage or injury to real,
   personal, or intellectual property which the non-breaching party may sustain as arising out of or
   in connection with the Contract’s covenants.

8) Waivers: All conditions, covenants, duties, and obligations contained in this Contract may be
   waived by written agreement only. Forbearance and indulgence in any form or manner by either
   party shall not be construed as a Waiver or in any way limit legal and equitable remedies.

9) Amendments: This contract cannot be amended except in writing executed by both parties.



Employment Contract                                                                          Page 3 of 4

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10) Duration of Contract: This Employment Contract shall be deemed to be in force from the date of
    signing this Contract unless it is terminated in writing by either party.

11) Entire Contract: The parties understand and agree that this Contract supersedes all other verbal
    or written agreements and negotiations by the parties relating to services in this Contract.

12) Severability: If any provision of this Contract is held by a court of competent jurisdiction to be
    invalid or unenforceable for any reason, the remaining provisions shall remain in full force and
    effect as if this Contract had been executed without that invalid provision.

13) This Contract shall be construed under and governed by the laws of the State of Illinois.

    IN WITNESS WHEREOF, the parties hereto set forth their hand and seal on 09/06/2017:



_______________________

Name: Pavan Kumar                                   Name : Jagadish Kumar Balusu

Title: Operations Manager                           Employee :




Employment Contract                                                                          Page 4 of 4

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                                    Candidate Evaluation Form

    Jagadish Kumar Balusu                     10:30 PM                    Monday                 02/25/2018
  Candidates Name                                   Time             Day of Week                        Date

                                               (203)809-9220
                                    Candidate’s Telephone Number

      Reston                               VA                                      USA
  Location or City                         State                              Country

      AT&T                                 Tekway Inc                                    4.0
      Client                               Company                            Candidate’s Skill Level
            SKILLS TO BE TESTED DURING TECHNICAL INTERVIEW
Skills to be tested          Score              Comment                            Experience
   JAVA, J2EE                   4                  Strong                              20Months
   CSS, JavaScript,
                                4                  Strong                              20Months
    JSP, XML
jQuery, Angular JS              3            Good Experience                           20Months
     LINUX                     3+              Very Good                               20Months
  Spring, Struts                4                Strong                                20Months
   Hibernate                   3+              Very Good                               20Months
Tomcat, WebSphere               4                Strong                                20Months
    GIT/SVN                     3            Good Experience                           20Months
   Webservices                 3+              Very Good                               20Months
 MS SQL, Oracle                 4                Strong                                20Months
       JIRA                     3            Good Experience                            20Months
                                                                           Technical Interviewer’s #
          Ratings key:      0 = None        1 = Training or Education              2 = Weak Experience
     2/3 = Basic experience     3 = Good Experience      3+ = Very Good          4 = Strong         5 = Expert




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     Overall Comments about the Candidate’s Communication and Technical Skills
         • He has experience in software programming specializing in object-oriented analysis, software
             design, development and maintenance
         • Skilled professional in software development using Java Technologies and experience in
             creating Restful Web services and used popular frameworks such as Spring, JPA, Hibernate.
         • Design, development and maintenance of client facing web based applications.
         • Configured backend frameworks for the application such as Spring Security, Spring Data-JPA.
         • Configured the application environment with Tomcat server, Maven and Oracle DB server.
         • Setup security hardening through configuring SSL x509 connection between application on
             Tomcat server with Oracle database server.
         • Worked on query optimization and writing SQL queries, PL/SQL Procedures, Functions,
             Triggers and Cursors.
         • Implemented the persistence layer in Hibernate
         • Application was built using Model-View-Controller (MVC) architecture with Spring.
         • Applied JQUERY, custom CSS and JavaScript to deliver cutting edge user interfaces and make
             the application live.
         • Deploying applications and troubleshooting java services on Apache Tomcat Server.
         • Proactively monitor and maintain the IT environment and react to unplanned events as they
             arise.
         • Provide second level technical support for applications deployed into production, development
             and test environments.
         • On call support for Production, Deployment activities, issue tracking on application logs and
             raising a report to fix it .


                                              *****Strong Candidate *****




                                                                          Yours sincerely




  Pavan Kumar                                                Employee Name: Jagadish Kumar Balusu
Operation Manager

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                                                                                       Te kway
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August 20, 2018

Ref: Employment of Jagadish Balusu



Dear Sir/madam,

Jagadish Balusu will be working at 1908 Reston Metro Plaza, Apt # 1221, Reston, VA-20190.
I, Pavan Kumar, Project Manager, Operations of Tekway, Inc. certify that I shall be supervising Jagadish Balusu
as Application Support-ITRR /Software Developer and supervise work-related duties and responsibilities. Our
company has the ultimate control and authority over Jagadish Balusu’s day-today activities at the end client,
AT&T.

The beneficiary is required to communicate on a regular basis with our company in terms of hours worked,
status of assignment, performance feedback, and similar matters through regular communication (phone calls
and e-mails) to the Supervisor.

As an Application Support-ITRR /Software Developer, Mr. Jagadish Balusu’s specific duties include but are not
limited to the following:

    ➢ Gathering system requirements for the application and worked with the business team to review the
      requirements, and went through the Software Requirement Specification document and Architecture
      document.
    ➢ Preparing the system requirements document and sending it for the approval.
    ➢ The Code will be developed using JAVA in the RAD Integrated development environment.
    ➢ Modifying and enhancing the Java simple API’s according to the requirements.
    ➢ Working on encryption of the data using the Voltage encryption.
    ➢ Executing the sql queries to make sure the data is updated, deleted, modified and encrypted using sql
      developer tool.
    ➢ Creating the test sample data in the Database to test the test application to run the application before
      deploying it to the production.
    ➢ An interface is designed and developed to communicate between the Biometric applications and
      Fingerprints.
    ➢ Install and configure new development software’s and servers as needed.
    ➢ Responding to the Change requests made by the client.
    ➢ Involved in on call application production support.
    ➢ Setup security hardening through configuring SSL x509 connection between Application on Tomcat
      server with Oracle database server.
    ➢ Using Maven to build the applications and deploy it to the tomcat server.
    ➢ Written scripts for the application Specify environment setup deployment .
    ➢ Written scripts for the monitoring application to ensure minimal downtime.
    ➢ Load balancing on Web application server clusters.
    ➢ Deploying the applications to WebSphere and production server.




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                                                                                     Te kway
                                                                                  Paving the Way for Technology
    ➢ Installation & configuring of new WebSphere application servers as needed.
    ➢ Preparing Unit and System Testing Specification documents and performed Unit and System testing of
      the application.
    ➢ Based on the unit testing results will create a test summary report.

In performing these duties, Jagadish Balusu will be working with the following technologies\platforms:


   Coding Languages                                  Java,J2EE
        Scripting                   JSP, Java Script, HTML ,XML, CSS

      Frameworks                    Spring, Hibernate Struts

   Operating Systems                Linux(Solaris),Unix windows
        CI/CD tool                  Jenkins
       Database                     Oracle, Ms Sql server, My Sql, JDBC
       Webservers                   Tomcat, WebSphere
 Version control tools              SVN/GIT


Employer employee relationship

   ➢ Right to Hire and Fire: Tekway, Inc. has the right of control over the work of the beneficiary on a day-
     to-day basis for which the control is required. Tekway, Inc. has the sole authority to hire or fire the
     beneficiary and set the rules and regulations for the beneficiary’s work.

   ➢ Right to Control: Tekway, Inc. controls the beneficiary provides her with compensation, has the
     authority to assign her and is responsible for payment of his salary, administration of benefits and the
     payment of applicable taxes on his/her behalf.

   ➢ Right to Supervise: Tekway, Inc. with tax identification Fed Id# XX-XXXXXXX will supervise the
     beneficiary Mr. Jagadish Balusu. The beneficiary will report to Tekway, Inc.’s Project Manager
     Operations, Pavan Kumar, who will supervise the beneficiary’s work and hence will maintain an
     employer employee relationship through the right of control. I further confirm that our company is
     the employer of the beneficiary as we control, the manner and means by which the beneficiary
     performs services for at the end client, At&t. Our company exercises the authority to appraise
     performance, promote, demote, transfer laterally, approve authorization for leave of absence or
     terminate the beneficiary’s employment. The beneficiary will communicate on a biweekly basis with
     Project Manager Operations, Pavan Kumar and submit the timesheets.




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                                                                                      Tekway
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   ➢ Right to assign additional duties: Tekway, Inc. will provide with any additional training in the specific
     technical skills required to perform the assigned tasks and meet the market standards. Moreover, our
     company has the right to assign additional work to the beneficiary and/or to change the work
     assignment.

   ➢ Wage and benefits (I-9s and W-2s): We treat the beneficiary as our employee in its business and
     personal records, including USCIS Form I-9. We also issue the beneficiary regular paychecks and
     required tax reporting forms (including W-2). We offer employee benefits (such as health insurance,
     direct deposits, etc.) to the beneficiary. We make employer contributions and withhold and will pay
     employee contributions on behalf of the beneficiary for federal income tax purposes. We also solicit
     regular feedback from the client about the work product of the beneficiary and include feedback in
     regular performance evaluations for this individual.

Please note that our company is not a “United States Agent” within the meaning of 8 C.F.R. Section
214.2(h)(2)(i)(F). Our employees are guaranteed employment, are paid a salary and are provided corporate
benefits. We also deduct Social Security taxes and other Federal and State taxes, and issue our employee W2
statements at the end of the year.

Should you have any questions, please do not hesitate to contact the undersigned.



Yours Sincerely,




_____________________________________
Pavan Kumar,
Project Manager, Operations
4104 Sterling Road
Downers Grove
Il-60515
Contact: (630)493-9458




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                                                                                       Tekway
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       Project Status Report of Jagadish Balusu for the month of May 2018




                              May 2018 Status Report

     S.No                                  Task                                        Status
 1st week       Gathering the Business Requirements and involved in             done
                discussion with teams.
 1st week       Involved in Technical and project management                    done
                Discussions
 1st week       On call support for Production, Deployment activities, issue    done
                tracking on application logs and raising a report to fix it .
 2nd week       Configures the application environment with Tomcat server,      done
                Maven on the new servers
 2nd week       Involved in DB design and Implementation                        done
 2nd week       Configuring oracle databases on the new servers                 done
 3rd week       API Design Document review                                      done
 3rd week       Set up the requirements of different API’s                      done
 3rd week       On call support for Production, Deployment activities, issue    done
                tracking on application logs and raising a report to fix it .
 4th week       Check configurations for build procedures.                      done
 4th week       Enhancements done on existing API                               done
                Responsible for Change Requests Implementation and bug
 4th week       fixing for internal and customer reported defects               done




 Pavan Kumar                                              Employee Signature: Jagadish Kumar Balusu
Operation Manager




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                                                                                  Tekway
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Project Status Report of Jagadish Balusu for the month of June 2018



                              June 2018 Status Report

   S.No                               Task                                     Status
             Gathering the Business Requirements and involved in
 1st week    discussion with teams.                                     done
             Involved in Technical and project management
 1st week    Discussions                                                done
 1st week    Add chassis level configurations for installed cards       done
 1nd week  On call support for Production, Deployment activities, done
           issue tracking on application logs and raising a report to
           fix it.
           Setup security hardening through configuring SSL x509
           connection between application on Tomcat server with
 2nd week Oracle database server in the new environment.              done
 2nd week Using Maven to build the applications and deploy it to the done
          tomcat server.

 3rd week    Integration of Development &operations                     done
             Written scripts for the application Specify environment
            setup deployment .
 3rd week                                                               done
             On call support for Production, Deployment activities,
             issue tracking on application logs and raising a report to
 3rd week    fix it .                                                   done
             API Design document review and enhancement updating
 4th week                                                               done
             Responsible for Change Requests Implementation and
 4th week    bug fixing for internal and customer reported defects      done




Pavan Kumar                                           Employee Signature: Jagadish Kumar Balusu
Operation Manager




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                                                                                    Tekway
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Project Status Report of Jagadish Kumar Balusu for the month of July 2018


                                         July 2018 Status Report

   S.No                                   Task                                          Status
             Gathering the Business Requirements and involved in
 1st week    discussion with teams.                                       done
             Involved in Technical and project management
 1st week    Discussions.                                                 done
 1st week    On call support for Production, Deployment activities, issue done
             tracking on application logs and raising a report to fix it.
             Enhancing the API to input the Sensitive data.
 2nd week                                                                 done
 2nd week    Installed the encryption software on the servers.            done
 2nd week    Loading encrypted data to database                                 done
             Deployments in both Production and test servers
 3rd week                                                                       done
 3rd week    Monitor the logs after CAT deployment                              done
             On call support for Production, Deployment activities, issue
 3rd week    tracking on application logs and raising a report to fix it.        done
             Installing the new certs for security hardening for the old servers
 4th week                                                                        done
             Looking into the load balance the servers to increase capacity
 4th week                                                                        done
 4th week   Responsible for Change Requests Implementation and bug fixing done
            for internal and customer reported defects.




 Pavan Kumar                                                      Employee Signature: Jagadish Kumar Balusu
Operation Manager




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                Company Code        Loc/Dept
                R4 / 7J2 23534209 01/
                                                        Number Page
                                                        1251503 1 of 1
                                                                                         Earnings Statement
                TEK WAY INC
                4104 Sterling Road                                                       Period Starting:     07/10/2018
                Downers Grove, IL 60515                                                  Period Ending:       08/09/2018
                                                                                         Pay Date:            08/15/2018




           Taxable Marital Status:       Single
           Exemptions/Allowances:           Tax Override:                                            JAGADISH BALUSU
                Federal: 0                     Federal:
                State:      0                  State:                                                1908 RESTON METRO PLAZA
                Local:      0                  Local:                                                APT #1221
           Social Security Number:       XXX-XX-XXXX
                                                                                                     RESTON, VA 20190

Earnings                 rate    hours/units                this period   year to date           Other Benefits and
                                                                                                 Information                            this period     year to date
Regular                                   0.00                 704.00       26464.00
Regular             20.0000             168.00                3360.00                            Total Hours Worked                         168.00         1288.00

            Gross Pay                                       $4,064.00     $26,464.00

                                                                                                 Deposits
                                                                                                 account number                        transit/ABA          amount
                 Statutory Deductions                       this period   year to date
                                                                                                 XXXXXX9796                            XXXXXXXXX           3378.28
                 Federal Income                               -487.87        2872.65
                 Virginia State Income                        -197.85        1235.04

                 Net Pay                                    $3,378.28




                                                                                                Your federal taxable wages this period are $4,064.00




            TEK WAY INC
            4104 Sterling Road
            Downers Grove, IL 60515
                                                                                         Pay Date:                    08/15/2018




            Deposited to the account                                                       account number                         transit/ABA          amount
            Checking DirectDeposit                                                         XXXXXX9796                            XXXXXXXXX             3378.28




                           JAGADISH BALUSU
                           1908 RESTON METRO PLAZA
                           APT #1221
                           RESTON, VA 20190
                                             Case 1:19-cv-00358-BAH Document 4-2 Filed 04/29/19 Page 37 of 64




                Company Code        Loc/Dept
                R4 / 7J2 23534209 01/
                                                        Number Page
                                                        1152591 1 of 1
                                                                                         Earnings Statement
                TEK WAY INC
                4104 Sterling Road                                                       Period Starting:     06/10/2018
                Downers Grove, IL 60515                                                  Period Ending:       07/09/2018
                                                                                         Pay Date:            07/16/2018




           Taxable Marital Status:       Single
           Exemptions/Allowances:           Tax Override:                                            JAGADISH BALUSU
                Federal: 0                     Federal:
                State:      0                  State:                                                1908 RESTON METRO PLAZA
                Local:      0                  Local:                                                APT #1221
           Social Security Number:       XXX-XX-XXXX
                                                                                                     RESTON, VA 20190

Earnings                 rate    hours/units                this period   year to date           Other Benefits and
                                                                                                 Information                            this period     year to date
Regular             20.0000             168.00                3360.00       22400.00
                                                                                                 Total Hours Worked                         168.00         1120.00
            Gross Pay                                       $3,360.00     $22,400.00


                                                                                                 Deposits
                 Statutory Deductions                       this period   year to date           account number                        transit/ABA          amount
                 Federal Income                               -350.33        2384.78             XXXXXX9796                            XXXXXXXXX           2852.30
                 Virginia State Income                        -157.37        1037.19

                 Net Pay                                    $2,852.30




                                                                                                Your federal taxable wages this period are $3,360.00




            TEK WAY INC
            4104 Sterling Road
            Downers Grove, IL 60515
                                                                                         Pay Date:                    07/16/2018




            Deposited to the account                                                       account number                         transit/ABA          amount
            Checking DirectDeposit                                                         XXXXXX9796                            XXXXXXXXX             2852.30




                           JAGADISH BALUSU
                           1908 RESTON METRO PLAZA
                           APT #1221
                           RESTON, VA 20190
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                Company Code        Loc/Dept
                R4 / 7J2 23534209 01/
                                                        Number Page
                                                        1058043 1 of 1
                                                                                         Earnings Statement
                TEK WAY INC
                4104 Sterling Road                                                       Period Starting:     05/10/2018
                Downers Grove, IL 60515                                                  Period Ending:       06/09/2018
                                                                                         Pay Date:            06/15/2018




           Taxable Marital Status:       Single
           Exemptions/Allowances:           Tax Override:                                            JAGADISH BALUSU
                Federal: 0                     Federal:
                State:      0                  State:                                                1908 RESTON METRO PLAZA
                Local:      0                  Local:                                                APT #1221
           Social Security Number:       XXX-XX-XXXX
                                                                                                     RESTON, VA 20190

Earnings                 rate    hours/units                this period   year to date           Other Benefits and
                                                                                                 Information                            this period     year to date
Regular             20.0000             176.00                3520.00       19040.00
                                                                                                 Total Hours Worked                         176.00          952.00
            Gross Pay                                       $3,520.00     $19,040.00


                                                                                                 Deposits
                 Statutory Deductions                       this period   year to date           account number                        transit/ABA          amount
                 Federal Income                               -369.53        2034.45             XXXXXX9796                            XXXXXXXXX           2983.90
                 Virginia State Income                        -166.57         879.82

                 Net Pay                                    $2,983.90




                                                                                                Your federal taxable wages this period are $3,520.00




            TEK WAY INC
            4104 Sterling Road
            Downers Grove, IL 60515
                                                                                         Pay Date:                    06/15/2018




            Deposited to the account                                                       account number                         transit/ABA          amount
            Checking DirectDeposit                                                         XXXXXX9796                            XXXXXXXXX             2983.90




                           JAGADISH BALUSU
                           1908 RESTON METRO PLAZA
                           APT #1221
                           RESTON, VA 20190
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Date: August 3 2018

Time Sheet for the Month of July - 2018
Consultant Name:                                 Jagadish Kumar Balusu
Client                                           AT & T
Job Posting                                       Application Support-ITRR /Software
                                                 Developer
Project / Group:                                 IAM Authentication Capability - CSO
                                                 FingerprintBio
From Date                   7/1/2018             To Date                   7/31/2018

    Date              Day          Start Time End Time Hours        Over Time          Notes

  1-Jul-18          Saturday                                               0

  2-Jul-18          Sunday                                                 0

  3-Jul-18          Monday                                                 0

  4-Jul-18          Tuesday            9:00 AM    5:00 PM     8            0

  5-Jul-18         Wednesday           9:00 AM    5:00 PM     8            0

  6-Jul-18         Thursday            9:00 AM    5:00 PM     8            0

  7-Jul-18           Friday            9:00 AM    5:00 PM     8            0

  8-Jul-18          Saturday                                               0

  9-Jul-18          Sunday                                                 0

  10-Jul-18         Monday             9:00 AM    5:00 PM     8            0

  11-Jul-18         Tuesday            9:00 AM    5:00 PM     8            0

  12-Jul-18        Wednesday           9:00 AM    5:00 PM     8            0




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13-Jul-18    Thursday     9:00 AM   5:00 PM     8            0

14-Jul-18     Friday      9:00 AM   5:00 PM     8            0

15-Jul-18    Saturday                                        0

16-Jul-18     Sunday                                         0

18-Jul-18    Monday       9:00 AM   5:00 PM     8            0

18-Jul-18    Tuesday      9:00 AM   5:00 PM     8            0

19-Jul-18   Wednesday     9:00 AM   5:00 PM     8            0

20-Jul-18    Thursday     9:00 AM   5:00 PM     8            0

21-Jul-18     Friday      9:00 AM   5:00 PM     8            0

22-Jul-18    Saturday                                        0

23-Jul-18     Sunday                                         0

24-Jul-18    Monday       9:00 AM   5:00 PM     8            0

25-Jul-18    Tuesday      9:00 AM   5:00 PM     8            0

26-Jul-18   Wednesday     9:00 AM   5:00 PM     8            0

27-Jul-18    Thursday     9:00 AM    5:00 PM     8               0

28-Jul-18      Friday     9:00 AM    5:00 PM     8               0

29-Jul-18    Saturday                                            0

30-Jul-18     Sunday                                             0




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                                                                              Tekway
                                                                            Paving the Way for Technology




 31-Jul-18         Monday       9:00 AM   5:00 PM     8             0

Total Hours                                         168    Hours

Total # Regular Shifts                              168    Hours

Total # Additional Shifts                                  Hours




    Pavan Kumar                                       Employee Signature: Jagadish Kumar Balusu
    Operation Manager




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                                                                                    Paving the Way for Technology




Date: July 5 2018

Time Sheet for the Month of June - 2018
Consultant Name:                          Jagadish Kumar Balusu
Client                                    AT & T
Job Posting                               Application Support-ITRR /Software Developer
Project / Group:                          IAM Authentication Capability - CSO
                                          FingerprintBio
From Date                 6/1/2018        To Date                      6/30/2018

    Date            Day        Start Time End Time Hours    Over Time              Notes

  1-Jun-18      Thursday        9:00 AM    5:00 PM     8           0

  2-Jun-18         Friday       9:00 AM    5:00 PM     8           0

  3-Jun-18      Saturday                                           0

  4-Jun-18         Sunday                                          0

  5-Jun-18         Monday       9:00 AM    5:00 PM     8           0

  6-Jun-18         Tuesday      9:00 AM    5:00 PM     8           0

  7-Jun-18     Wednesday        9:00 AM    5:00 PM     8           0

  8-Jun-18      Thursday        9:00 AM    5:00 PM     8           0

  9-Jun-18         Friday       9:00 AM    5:00 PM     8           0

 10-Jun-18      Saturday                                           0

 11-Jun-18         Sunday                                          0

 12-Jun-18         Monday       9:00 AM    5:00 PM     8           0




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                                                                             Te kway
                                                                          Paving the Way for Technology




13-Jun-18     Tuesday     9:00 AM   5:00 PM     8           0

14-Jun-18   Wednesday     9:00 AM   5:00 PM     8           0

15-Jun-18     Thursday    9:00 AM   5:00 PM     8           0

16-Jun-18      Friday     9:00 AM   5:00 PM     8           0

18-Jun-18     Saturday                                      0

18-Jun-18      Sunday                                       0

19-Jun-18     Monday      9:00 AM   5:00 PM     8           0

20-Jun-18     Tuesday     9:00 AM   5:00 PM     8           0

21-Jun-18   Wednesday     9:00 AM   5:00 PM     8           0

22-Jun-18     Thursday    9:00 AM   5:00 PM     8           0

23-Jun-18      Friday     9:00 AM   5:00 PM     8           0

24-Jun-18     Saturday                                      0

25-Jun-18      Sunday                                       0

26-Jun-18     Monday      9:00 AM   5:00 PM     8           0

27-Jun-18      Tuesday    9:00 AM    5:00 PM    8               0

28-Jun-18    Wednesday    9:00 AM    5:00 PM    8               0

29-Jun-18     Thursday    9:00 AM    5:00 PM    8               0

30-Jun-18       Friday    9:00 AM    5:00 PM    8               0




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                                                                             Tekway
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 Total Hours                                   168     Hours

 Total # Regular Shifts                        168     Hours

 Total # Additional Shifts                             Hours




Pavan Kumar                                          Employee Signature: Jagadish Kumar Balusu
Operation Manager




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                                                                                    Paving the Way for Technology




Date: June 3 2018

Time Sheet for the Month of May - 2018
Consultant Name:                          Jagadish Kumar Balusu
Client                                    AT & T
Job Posting                                Application Support-ITRR /Software
                                          Developer
Project / Group:                          IAM Authentication Capability - CSO
                                          FingerprintBio
From Date              5/1/2018           To Date                   5/31/2018
                                  Start
    Date             Day                  End Time   Hours    Over Time         Notes
                                  Time
  1-May-18         Monday     9:00 AM      5:00 PM     8             0

  2-May-18         Tuesday    9:00 AM      5:00 PM     8             0

  3-May-18     Wednesday      9:00 AM      5:00 PM     8             0

  4-May-18         Thursday   9:00 AM      5:00 PM     8             0

  5-May-18          Friday    9:00 AM      5:00 PM     8             0

  6-May-18         Saturday                                          0

  7-May-18         Sunday                                            0

  8-May-18         Monday     9:00 AM      5:00 PM     8             0

  9-May-18         Tuesday    9:00 AM      5:00 PM     8             0

  10-May-18    Wednesday      9:00 AM      5:00 PM     8             0

  11-May-18        Thursday   9:00 AM      5:00 PM     8             0

  12-May-18         Friday    9:00 AM      5:00 PM     8             0




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                                                                         Te kway
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13-May-18    Saturday                                     0

14-May-18     Sunday                                      0

15-May-18    Monday     9:00 AM   5:00 PM    8            0

16-May-18    Tuesday    9:00 AM   5:00 PM    8            0

18-May-18   Wednesday   9:00 AM   5:00 PM    8            0

18-May-18    Thursday   9:00 AM   5:00 PM    8            0

19-May-18     Friday    9:00 AM   5:00 PM    8            0

20-May-18    Saturday                                     0

21-May-18     Sunday                                      0

22-May-18    Monday     9:00 AM   5:00 PM    8            0

23-May-18    Tuesday    9:00 AM   5:00 PM    8            0

24-May-18   Wednesday   9:00 AM   5:00 PM    8            0

25-May-18    Thursday   9:00 AM   5:00 PM    8            0

26-May-18     Friday    9:00 AM   5:00 PM    8            0

27-May-18    Saturday                                         0

28-May-18     Sunday                                          0

29-May-18     Monday    9:00 AM   5:00 PM    8                0

30-May-18     Tuesday   9:00      5:00 PM    8                0
                        AM




              4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-9458/9459
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                                                                                Tekway
                                                                              Paving the Way for Technology




 31-May-18      Wednesday   9:00      5:00 PM     8              0
                            AM
Total Hours                                     176     Hours

Total # Regular Shifts                          176     Hours

Total # Additional Shifts                               Hours




    Pavan Kumar                                       Employee Signature: Jagadish Kumar Balusu
    Operation Manager




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                                                                                        Paving the Way for Technology




Date: May 3 2018

Time Sheet for the Month of April - 2018
Consultant Name:                                Jagadish Kumar Balusu
Client                                          AT & T
Job Posting                                     Application Support-ITRR /Software Developer
Project / Group:                                IAM Authentication Capability - CSO FingerprintBio
From Date                  4/1/2018             To Date                            4/30/2018

   Date              Day          Start Time    End Time     Hours      Over Time              Notes

 1-Apr-18          Saturday                                                    0

 2-Apr-18          Sunday                                                      0

 3-Apr-18          Monday             9:00 AM    5:00 PM        8              0

 4-Apr-18          Tuesday            9:00 AM    5:00 PM        8              0

 5-Apr-18       Wednesday             9:00 AM    5:00 PM        8              0

 6-Apr-18          Thursday           9:00 AM    5:00 PM        8              0

 7-Apr-18           Friday            9:00 AM    5:00 PM        8              0

 8-Apr-18          Saturday                                                    0

 9-Apr-18          Sunday                                                      0

 10-Apr-18         Monday             9:00 AM    5:00 PM        8              0

 11-Apr-18         Tuesday            9:00 AM    5:00 PM        8              0

 12-Apr-18      Wednesday             9:00 AM    5:00 PM        8              0

 13-Apr-18         Thursday           9:00 AM    5:00 PM        8              0




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14-Apr-18         Friday      9:00 AM    5:00 PM       8              0

15-Apr-18       Saturday                                              0

16-Apr-18        Sunday                                               0

18-Apr-18        Monday       9:00 AM    5:00 PM       8              0

18-Apr-18        Tuesday      9:00 AM    5:00 PM       8              0

19-Apr-18      Wednesday      9:00 AM    5:00 PM       8              0

20-Apr-18       Thursday      9:00 AM    5:00 PM       8              0

21-Apr-18         Friday      9:00 AM    5:00 PM       8              0

22-Apr-18       Saturday                                              0

23-Apr-18        Sunday                                               0

24-Apr-18        Monday       9:00 AM    5:00 PM       8              0

25-Apr-18        Tuesday      9:00 AM    5:00 PM       8              0

26-Apr-18      Wednesday      9:00 AM    5:00 PM       8              0

27-Apr-18        Thursday     9:00 AM     5:00 PM      8                  0

28-Apr-18         Friday      9:00 AM     5:00 PM      8                  0

29-Apr-18        Saturday                                                 0

30-Apr-18        Sunday                                                   0

Total Hours                                           160     Hours




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                                                                              Tekway
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 Total # Regular Shifts                               160     Hours

 Total # Additional Shifts                                    Hours




  Pavan Kumar                                       Employee Signature: Jagadish Kumar Balusu
Operation Manager




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                                                                                       Paving the Way for Technology




Date: April 3 2018

Time Sheet for the Month of March - 2018
Consultant Name:                              Jagadish Kumar Balusu
Client                                        AT & T
Job Posting                                   Application Support-ITRR /Software Developer
Project / Group:                              IAM Authentication Capability - CSO
                                              FingerprintBio
From Date                   3/1/2018          To Date                            3/31/2018

     Date             Day        Start Time   End Time     Hours      Over Time              Notes

   1-Mar-18        Wednesday       9:00 AM     5:00 PM       8               0

   2-Mar-18         Thursday       9:00 AM     5:00 PM       8               0

   3-Mar-18          Friday        9:00 AM     5:00 PM       8               0

   4-Mar-18         Saturday                                                 0

   5-Mar-18          Sunday                                                  0

   6-Mar-18         Monday         9:00 AM     5:00 PM       8               0

   7-Mar-18         Tuesday        9:00 AM     5:00 PM       8               0

   8-Mar-18        Wednesday       9:00 AM     5:00 PM       8               0

   9-Mar-18         Thursday       9:00 AM     5:00 PM       8               0

  10-Mar-18          Friday        9:00 AM     5:00 PM       8               0

  11-Mar-18         Saturday                                                 0

  12-Mar-18          Sunday                                                  0




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13-Mar-18    Monday     9:00 AM     5:00 PM      8             0

14-Mar-18    Tuesday    9:00 AM     5:00 PM      8             0

15-Mar-18   Wednesday   9:00 AM     5:00 PM      8             0

16-Mar-18    Thursday   9:00 AM     5:00 PM      8             0

18-Mar-18     Friday    9:00 AM     5:00 PM      8             0

18-Mar-18    Saturday                                          0

19-Mar-18     Sunday                                           0

20-Mar-18    Monday     9:00 AM     5:00 PM      8             0

21-Mar-18    Tuesday    9:00 AM     5:00 PM      8             0

22-Mar-18   Wednesday   9:00 AM     5:00 PM      8             0

23-Mar-18    Thursday   9:00 AM     5:00 PM      8             0

24-Mar-18     Friday    9:00 AM     5:00 PM      8             0

25-Mar-18    Saturday                                          0

26-Mar-18     Sunday                                           0

27-Mar-18     Monday     9:00 AM    5:00 PM      8                 0

28-Mar-18     Tuesday    9:00 AM    5:00 PM      8                 0

29-Mar-18   Wednesday    9:00 AM    5:00 PM      8                 0

30-Mar-18    Thursday    9:00 AM    5:00 PM      8                 0




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                                                                                Tekway
                                                                             Paving the Way for Technology




  31-Mar-18          Friday    9:00 AM     5:00 PM      8              0

 Total Hours                                         184      Hours

 Total # Regular Shifts                              184      Hours

 Total # Additional Shifts                                    Hours




  Pavan Kumar                                        Employee Signature: Jagadish Kumar Balusu
Operation Manager




               4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-9458/9459
                                                                                                           9
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                                                                                                   Paving the Way for Technology




                      ITINERARY OF SERVICES OF MR._JAGADISH KUMAR BALUSU


Beneficiary Mr. JAGADISH KUMAR BALUSU is an Tekway INC Full Time Employee. He shall be assigned to work at
client location 1908 Reston Metro Plaza Apt #1221 Reston, VA-20190 . The duration of the project is until October 2020
with high probability of further extension(s).



Client details:

Name: AT&T

Address: 20205 North Creek Pkwy, Bothell, WA 98011
Contact Person: Jann Kelliher
Designation: Associate Director - Technology
Phone: +1(360)344-6147

Vendor details :

Name: PINNACLE GROUP

Address: 5501 Lyndon B Johnson Freeway, Dallas, TX 75240.
Contact Person: Rebecca Abraham
Designation: Client services lead.
Phone: (214)466-2644.



Employer details:

Name: Tekway INC.

Address: 4104 Sterling Road, Downers Grove, IL-60515
Contact Person: Pavan kumar Nallamala
Designation: Operations Manager
Phone: 630-493-9458/9459




                            4104 Sterling Road, Downers Grove, IL-60515, Phone 630-493-9458/9459
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                                                                                      )I
                                                                                Tekway
                                                                           Paving the Way for Technology




Break-up of percentage and hours worked per week for each job responsibility:

               Job Duties                                                       Number         Percentage
                                                                                of Hours       of time
                                                                                in a
                                                                                week
1.      Involving in analyzing the business requirements and Functional
        specifications.
        • Participates in the review and definition of functional areas,
            processes and procedures regarding requirements, organization
            and flow of data, methods and forms.                                5 hours        13%
        • The system requirements will be approved and sent for the next
            level approvals.
        • Provides problem resolution, Communicates and recommends
            complex business process, procedures and diverse information to
            resolve customer issues.
        • Interacting with the system analysts, business users for design &
            requirement clarifications.
        • Responsible for Designing and Implementing the Class hierarchy
            based on the Functional Specifications.
        • Participating in the Daily review meeting to produce quality
            deliverables within time.
2.      Configuring and Development:
            • Configures the application environment with Tomcat server,
                 Maven and Oracle database server.
            • Made architectural and design decisions and identifying the
                 frameworks that better fit to the needs of the application.
            • Based on the system requirements document the code will be
                 enhanced to meet the requirements.
            • The Java API’s has developed, modified and enhanced.
            • An interface is designed and developed to communicate
                 between the Biometric applications and Fingerprints.
            • Setup security hardening through configuring SSL x509
                 connection between Application on Tomcat server with
                 Oracle database server.
            • Using Maven to build the applications and deploy it to the
                 tomcat server.
            • Written scripts for the application Specify environment setup     16 hours       40%
                 deployment .
            • Written scripts for the monitoring application to ensure
                 minimal downtime.
            • Load balancing on Web application server clusters.
            • Used AT&T one ticketing system for tracking the defects in
                 production environment.
            • Resolves technical issues through debugging, research and
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                                                                                           )I
                                                                                     Tekway
                                                                                Paving the Way for Technology

                       investigation.

3.          Testing the Biometrics Application Interface:
                • Based on the Design and Flow of the application testing cases
                    has been written and implemented the testing.
                • Executed Sql queries to make sure the data availability and        4 hours        10%
                    data source connection.
4.           Application environment support for all stakeholders
                 • On call support for Production, Deployment activities, issue
                     tracking on application logs and raising a report to fix it .
                 • Providing support during a release deployment.
                 • Proactively monitor and maintain the IT environment and
                     react to unplanned events as they arise.
                 • Provides systems and programming support to functional
                     areas
                 • Responsible for Change Requests Implementation and bug
                     fixing for internal and customer reported defects.
                • Periodically review the MOTS application associated to our         15 hours       37%
                    resource and ensure its accuracy.
            In Progress:
                • Migrating both FBIO and VBIO applications to New web
                    servers with high configuration.
                • Enhancing the Finger Biometrics application for faster
                    response.
            In Planning:
                • Update the Database with the New Samples.
                • Updating the FBIO code with the new requirements and
                    configuring new servers, and deploying the application on
                    them.
                • Load balancing the Servers so that it can increase the capacity
                    and reliability of the application.


Yours sincerely,



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    �
                                                                              Shirley Delia
                                                                           Supplier Liaison
   �                                                                     Human Resources
                                                                               1 AT&T Way
   at&t                                                               Bedminster, NJ 07921
                                                                              908-234-3681




 March 12, 2018

To Whom It May Concern:

Jagadish Kumar Balusu has been assigned by their employer to perform services for
AT&T at its facilities located at 1908 Reston Metro Plaza, Apt #1221, Reston, VA 20190
pursuant to a contract between AT&T Services Inc., and Pinnacle Technical Resources.

Jagadish Kumar Balusu provides services by arrangements between the employer of
Jagadish Kumar Balusu, Tekway, Inc., and Pinnacle Technical Resources.
The terms and conditions of the contract between AT&T Services, Inc., and Pinnacle are
confidential. Jagadish Kumar Bal usu is currently scheduled to provide services to AT&T
through December 27, 2019, with a possibility of extension in accordance with the terms of
the applicable contract( s).

Jagadish Kumar Balusu's responsibilities include, but are not limited to:
   • Participates in the review and definition of functional areas, processes and
      procedures regarding requirements, organization and flow of data, methods and
      forms.
   • Provides problem resolution; Communicates and recommends complex business
      process, procedures and diverse information to resolve customer issues.
   • Provides systems and programming support to functional areas.
   • Provides knowledge transfer and supports users on installed software.

Jagadish Kumar Balusu's employer, Tekway, Inc., not AT&T Services or its affiliates,
provides them with compensation, has the authority to assign them to perform services
for one or another of its customers, has control of its employees and is responsible for
payment of salaries, administration of benefits and payment of taxes on behalf of its
employees for the duration of their employment with it.

Should you have any questions, please feel free to contact me.

Sincerely,
���




Shirley Delia
         TEKWAY INC       Case 1:19-cv-00358-BAH Document 4-2 Filed 04/29/19 Page 59 PH:


          ORGANIZATIONAL CHART
                                                                                         630-493-9458
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                                                                                                       WWW.TEKWAYINC.COM




                                                   ROHINI VEERAMACHANENI
                                                             PRESIDENT




                                                           PAVAN KUMAR
                                                     PROJECT MANGER, OPERATIONS




    DEVI BELLAM            SAI PRASANNA
                                                                                                            VENKATA MARUTHI MANOJ
                                        POTLA
                               SAGAR DUNDIGALA                           TEJASRIRAM MALLIPEDDI                     GONTLA
   SR JAVA DEVELOPER              SR JAVA DEVELOPER                         INFRASTRUCTURE ENGINEER
                                                                                                             SR SOFTWARE SYSTEMS ENGINEER
                             INFRASTRUCTURE  ENGINEER




    GOPI POTLA               RAKESH YADLAPALLI
                            KRUTHIKA  AGARWAL                            BINTU VEERAMACHINENI                 SANDEEP DAVULURI
 INFRASTRUCTURE ANALYST          INFRASTRUCTURE  ANALYST
                                  SALES FORCE ENGINEER                      INFRASTRUCTURE ANALYST            INFRASTRUCTURE ANALYST




SRIKANTH
MANOJ    NADIPALLI
      KUMAR  KODURU         CHAKRADHAR MADALA
                            STEVENSON SUNCHU                                  ABHINAV KOTA                     DEEPTHIADUSUMALLI
                                                                                                              HARIKA   GANDRA
   AUTOMATION
  SR.          TESTER
      JAVA DEVELOPER             SOFTWARE
                                   SR. JAVA PROGRAMMER
                                            DEVELOPER /                           SR. JAVA DEVELOPER           PROGRAMMER  ANALYST
                                        DEVELOPER
                                                                                                                 SR. JAVA DEVELOPER




JAGADEESH BALUSU              VAMSI
                             SAI    CHIDIPOTHU
                                 KISHEN THENTU                                    VISHAL BURRA                DEEPTHISHA JALLI
  SOFTWARE DEVELOPER /            SOFTWARE  DEVELOPER /
                                  SR. JAVA DEVELOPER                         SOFTWARE DEVELOPER /              SOFTWARE DEVELOPER /
  PROGRAMMER ANALYST              PROGRAMMER ANALYST                         PROGRAMMER ANALYST                PROGRAMMER ANALYST




  SOUMYA KARNATI
JASWANTH  POTHINENI          LAKSHMI NADIPALLI
                            SRIKANTH AYYANKI                              MANOSRUTHI MACHA
                                                                           DEEPTHI GANDRA                       VINAY SWARNA
 SOFTWARE  PROGRAMMER /
  SR. JAVA DEVELOPER              SOFTWARE DEVELOPER
                                             ENGINEER/                       SOFTWARE DEVELOPER
                                                                             PROGRAMMER  ANALYST/              SOFTWARE DEVELOPER /
        DEVELOPER                 PROGRAMMER ANALYST                          PROGRAMMER ANALYST               PROGRAMMER ANALYST
                                  AUTOMATION
         TEKWAY INC      Case 1:19-cv-00358-BAH Document 4-2 Filed 04/29/19 Page 60 PH:


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                                                                                        WWW.TEKWAYINC.COM




  TEJASWI KOLLURI
CHAKRADHAR   MADALA
                           LAKSHMI SUNANDA
                              BHAVYA
                               ALLURIKOLLI                        HARI BATHULA
                                                                SRAVYA  KANDUKURI                PAVAN KUMAR
                                                                                                ANVESH ATLURI
                                                                                                  VEERAVALLI
   SR JAVA DEVELOPER
   ORACLE  DEVELOPER             SR JAVADEVELOPER
                                ORACLE   DEVELOPER                  SR JAVA DEVELOPER
                                                                    ORACLE  DEVELOPER            SRORACLE
                                                                                                    JAVA DEVELOPER
                                                                                                           DEVELOPER




JASWANTH POTHINENI          KRISHNA SANDEEP
                            DINAKAR CHANDOLU
                               CHANDURI                          MANOJ BATHINENI            ROSHIK NEMURUGOMMULA
   SR JAVA DEVELOPER             SR JAVADEVELOPER
                                         DEVELOPER                  SR JAVA DEVELOPER            SR JAVA DEVELOPER
                                ORACLE
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                                                                          U.S.. C'� ...t t-cr..m 5«'vk�i
 November 13, 2018
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                                                                          L,scu SirJd. CA •:601-0S,O

                                                                       , U.S. Citizenship
                                                                          and Imrnigratlon
                                                                          Services
TllKWAY INC
c/o PA VAN KUMAR PRESIDENT
4104 STERLING RO
DOWNERS OROVE. IL 60SIS

fomt /-J29. Petition for a Nonimmignanr Wc'lrkcr


                                                                          A 140-099-4 79


                                                  tn:c1sioN

 On April 12, 2018, your organization. TEKWA Y INC, filed n Petition for a Nonimmigrant Worker
 (Form 1·129), with U.S. Citiunship and Immigration Services (USCIS), seeking to classify BALUSU,
 JAGADlSII KUMAR (beneficiary) as a temporary worker inn specialty occupation (H·ID) under
  secti<>n IOl(a)(IS)(H)(i)(b) of the Immigration and Nationality Act (INA).

   INA§ IO I (n)( 15)(1 l)(i)(b) provides, in pan, for the classification of a qualified nonimmigrant:

             ... who is coming temporarily to the United States to perform services ... in a specialty
            occupation described in section 2 l4(i)( 1 ) ... , who meets the requirements for the occupation
            specified in section 214(i)(2) ... , and with respect to whom the Secretary of Labor determines
           and certifies ... that the intending employer has filed with the Secretary an application under.
           section 212(n)(I).

 You seek new employment for tbe beneficiary and requested that USCIS change the beneficiary's

                                                            .
SIDIUS •
             (
                                      t                 ,
You stated on the Form 1·129 lhai you are software development and infonnation technology business
wuh 10 employees. You seek to employ the beneficiary as an Application Support • lTRR from
 October I, 20\S to August 22. 2021.

  \JSClS reviewed the initial record of evidence for eligibility in accordance with the (NA ancl Title
                                                                                                          8,
   Code of Federal Rel,lulations (8 CFR) and could not determine whether you had estoblished
                                                                                                  eligibility
   for the benefit so111:1h1. Aocordin;\y, USC IS issued a "Request for l!videnec (RFE) on July 9, 2018. On
   Scptcn1bcr 24, 2018, you submitted • response.

    Aller careful review and consideration of the entire record, based on a preponderance of the
                                                                                                 evidence,
    the petition will be denied for the reasons discussed below.

                                      No Employu.£mployet Relationship

    The issue to be discussed is whether you have established that you have an
                                                                               employer-employee
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      relationship with the beneficiary.

       8 CFR § 214.2(h)(4)(ii) defines the term "United States employer" as follows:

                 United States employer means a person, firm, corporation, contractor, or other association, or
                 organization in the United States which:

                            (I) Engages a person to work within the United States;

                            (2) Hos on employer-employee relationship with respect to employees under this part,
                            ns indlcntcd by the fact thnt it may hire. pay, fire, supervise, or otherwise control the
                            work of nny such employee; nud

                           (3)   JJns nn Jntemnl Revenue Service Tax Identification number.

     Neither the legacy Immigration and Naturalization Service (INS) nor USCIS has defined the terms
''   "employee," "employed," "employment," or "employer-employee relationship" by regulation for
     purposes of the H-\B visa classification, even though the regulation describes H-lB beneficiaries as
      "employees" who must have an "employer-employee relationship" with a U.S. employer. Therefore,
       for purposes of the H-\B visa classification, these terms are undefined.

      Thus, in considering whether or not one is an "employee" in an "employer-employee relationship"
      with a "United States employer" for purposes ofH-lB nonim.migrant petitions, USCIS focuses on the
      common-law touchstone of "control." See 8 CFR § 214.2(h)(4)(ii)(2) defining a "United States
       employer" as one who "has an employer-employee relationship with respect to employees under this
       part, as indicated by the fact that it may hire, pay, fire, supervise, or otherwise control the work of any
       such employee .... " (Emphasis added)

        You are supplier of software development and information technology business which, it appears,
       does not produce any software products of your own but rather contracts with numerous outside
       companies in order to supply these companies with employees to fulfill specific staffing needs or
       complete service contracts.

      The proposed duties at the time the petition was filed indicate that, although you will act as the
      beneficiary's employer. you intend to place the beneficiary at wor� locntion(s) pursuant to consulting
     agreements with third-party end clients or users.

      Subseq\1ent\y, you were requested to provide additional evidence to establish thnt a valid
      emp\oyer-cmp\oyee relationship will exist between you and the beneficiary. and that you hove the
       right to control when, where, and how the beneliciory performs the work at the end-clients' location,
       inclnding the ability to hire, fire, and supervise the beneficiary through the duration of the requested
        H-1 n validity period.

        USCIS provided a non-exhaustive list of items that could be used to sntisfy the employer-employee
        relationship requirement. USCIS also informed you what the evidence should describe to determine if
        you have a sufficient level of control over the employee placed at a third-party location.

        Subsequent to your response, the record contains the following documents regarding the
        employer-employee relationship:

                • Itinerary of services or engagements;


        CSCll29CSCll2000001142l91J                                2oC'4
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          • A letter of support from Pavan Kumar, Project Manager, Operations at Tekway, Incorporated;
         • Copy of an Emplo,ment Contract;
          • Copy of an Employment Offer letter;
         • A letter of support from odd Green, SPHR, Supply Chain Manager at Pinn.tclc Group;
         • A letter ofsupport from Shirley Delia at AT&T;
         • Copy of a Suppli<r Subcomratting Agreement (Staffing) between you and the authorized
          officials at Pinnacle Group;
        • Coy of Associare Handbook;
        • Copy of Project Swus Reports for the beneficiary;
        • Copy ofbene.f"..ciary"s earning statements;
       • Copy of AT&T Employee badge for the beneficiary;
       • Copy ot« Candid.>Jc Evaluarioo Form:
       • Copy uftimc sheets for the beneftei,ry;
      • Copy ofCOIJ)Ot3r.t' linanciaf statements; and
      • Cop)' of the orgm:izationar chart.

 The record has been reviewed in its entirrty to establish whether you have the right to control the
 beneficiary', employment at the third-party end client and it ha., been determined that you have not
  met the employer-employee relationship test for the following reasons:

  You stated that the bcndici2ry will worlc in Reston, Virginia at a client named, AT&T. The initial
  filing indicated that you intend to employ the beneficiary as an Application Support - ITRR. However,
  you did not provide copies of any purchase orders, work orders or statements of worlc between you, the
  middle-vendor, and the eed-ctiem, USCJS had requested that you provide evidence 10 establish your
  right to control over the bcncfi<:iary. lo p:micular. you were requested to provide a contract for
  services, work order. and sratement of worlc for the beneficiary to provide services to AT&T. The
  evidence is insufficient to establish that a valid employer-employee relationship will exist for the
  duration of the requested \'3lidiry period.

   USClS notes th31 the evidence ofrecord reflects • r<lation,hip between you and AT&T has begun in
   the past via the Supplia Subconrracting Agreement (Staffing) between you and Pinnacle Group and
  accompanying evidences. Also, AT&T states it is prevented from providing such documents due to a
  "Co111iden1fality and N01Hfisclosurc" •grccmcnr currently in place. However, th= is no evidence of
 n current contract, purcb.tscon1cr, worl< order, or statement of work between Pinnacle Group and
 AT&T. where 1hc work ..;11 acrually be performed by the beneficiary, to validate the beneficiary's
employment. and valid.lrc rou as tl>c beneficiary'< employer at its facility. As such. you have not
sh<>wn how you intended to exercise your right to control while the beneficiary is assigned 10 the
 end-client, or that there ,-;n be specialty occupation work for the beneficiary for the dumtion of the
 rcqueMe� validiry �od.

 You must submit substantiating evidence such as• services agreement along with a work order, a
 purchase order. or a statement of work that slates the location where the beneficiary will work.
 describe in detail the duties the beneficiary will perform, list the requested validiry periods the
 beneficiary will provide services, and the qualifications necessary to perform the assigned job duties.
 The emails submitted between the bencficfary and end-client employees do not include you and
 indicate the beneficiary is laking direction from the end-client. Your organization cban shows 25
 employees reporting to Pa,':111 Kumar, who you stare will remotely supervise the beneficiary's worlc,
 but you did not sufficiently explain how this will be done. As you have not presented sufficient
 evidence, the present record docs not sufficiently demonstrate:

       • The skill required to perform the specialty occupation;



                                                        ....
          Case 1:19-cv-00358-BAH           Document
               • The source of the instrumentalities      4-2required
                                                     and tools Filedto04/29/19
                                                                       perform the Page    64occupation;
                                                                                   specialty   of 64
                    • \\'bcthcr you have the right to assign additional work to the beneficiary while be is performing
                      services for AT&T at their place of business;
                                                                                                                     .
                  ' • Wf>elber you can fire the benefici.asy or set rules and regulations on the y,.·()O; the beneficiary
                      will be perfonn)ng for AT&T;
                    • Wl>etl,er, and if so, to what extent yoo 'M.ll supervise the beneficiary's work while he is
                     performing services for AT&T;
                   • A vailabiliry of specialty occepatioa work: and
                   • Whether the beneficiary reports to someone higher in your organization.
        Without fwthcT evidence to support the existence of a valid project at your office. USCts cannot
       detenn_jne that you wiJJ be able to provide work for the beneficiary, and the manner in which you
      in!end to control the beneficiary's worlc and day-ec-day activities. While you and AT&T are both on
     record by w.ty of currcntJy dated fetters of $0pp<)n alluding ec a working relationship, the \\'Orking
    rcJ-:uionsbip b;as nor been c�ntrac(ualJy documented..
                                          z,


    Therefore, you have not established that you will be a "United States employer" having an
    "cmploye:r-employec relationship" with the beneficiary as an H-IB temporary "employee."

    The burden of proof to establish eligibility for tbe benefit request rests with you. Here, that burden ru
     not been met.                                                           •                 ·


     Consequently, the petition is denied for the above stated reason.

     If you disagree with this decision, you may appeal to the Administrative Appeals Office (AAO} by
     filing a Noeicc of Appeal or Motion (Form l-290B) within 30 days (33 <lays if by mail) of the date of
     this decision. Alternatively, you may use Fenn 1-2908 to submit a motion to reopen or reconsider.
     For the latest information on filing location, fee, and other requirements, please review the Forni
     l-2908 instructions al hnp://www.uscis.gov/fonns call our USC!S Contact Center at J.,g()()-37$-528,
     or visit your local USClS office.

     The Small Business Regulatory Enforcement and Fairness Act established the Office of the National
   , Ombudsman (ONO) at the Small Business Administration. The ONO assists small businesses with
     issues related lo federal regulations. If you are a small business with a comment or complaint about
     regulal(){}' enforcement, you may contact the 0:-<0 athttp://www.sba.govlombudsman or
   .pboile-202-205-2417 or fax202-48l-5719.

    Sincerely,
    '•)      >'




    �,{�

   Kathy A. Baran
   Director, California Service Center


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